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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


ROBERT ALEXANDER BODINE, HALLE
ELLINGSON, KURT HALL, BENNETT
JOHNSON, KYLE MELQUIST, SAMANTHA
STOLZENBACH, SHARON TRAINOR, AND
STACEY VAIDIS,                                           Case No.

                               Plaintiffs,               CLASS ACTION COMPLAINT

       -against-                                         JURY TRIAL DEMANDED

JOHNSON & JOHNSON CONSUMER INC.,

                               Defendant.


       Plaintiffs Robert Alexander Bodine, Halle Ellingson, Kurt Hall, Bennett Johnson, Kyle

Melquist, Samantha Stolzenbach, Sharon Trainor, and Stacey Vaidis (together, “Plaintiffs”),

bring this action individually on behalf of themselves and as a class action on behalf of all others

similarly situated against Defendant Johnson & Johnson Consumer Inc. (“J&J” or “Defendant”)
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for damages, injunctive relief, and any and all other relief available. Plaintiffs demand a trial by

jury on all issues so triable and complain and allege as follows:

                                    NATURE OF THE CASE

          1.   Consumers purchase sunscreen in order to decrease their risk of developing skin

cancer. Skin cancer is the most common form of cancer in the United States, and ultraviolet

radiation from the sun is the number one cause of skin cancer. In order to decrease the risk of skin

cancer, medical experts recommend sunscreen.1

          2.   Sunscreen is a key component of skin cancer prevention. Last year alone, the

market for suncare products was approximately $8 billion globally, with $1.6 billion of sales in

the United States alone.2

          3.   Defendant J&J is one of the largest manufacturers and distributors of sunscreen.

Globally, J&J sold over $600 million in suncare products last year, nearly half of which was sold

in the United States.3 Among J&J’s products are the widely popular Aveeno and Neutrogena

sunscreens.

          4.   Plaintiffs and other consumers purchased J&J’s sunscreens to decrease their risk of

skin cancer. Little did they know J&J’s products contained an undisclosed carcinogen, benzene,

that potentially increases their chances of developing the very cancer the product is marketed to

prevent.




1
 Cleveland Clinic, Sun Exposure & Skin Cancer (Oct. 10, 2019), available at
https://my.clevelandclinic.org/health/diseases/10985-sun-exposure--skin-cancer.
2
  Michael Erman & Julie Steenhuysen, FDA Investigating How a Known Carcinogen Wound Up
in J&J Suncreen, Reuters (July 16, 2021), available at https://www.reuters.com/world/us/fda-
investigating-how-known-carcinogen-wound-up-jj-sunscreen-2021-07-16/.
3
    Id.




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         5.      According to the Food & Drug Administration (“FDA”), benzene “should not be

employed in the manufacture of drug substances, excipients, and drug products because of their

unacceptable toxicity or . . . deleterious environmental effect.” Where benzene use is “unavoidable

in order to produce a drug product with a significant therapeutic advance,” its concentration should

be limited to no more than 2 parts per million (“ppm”). Benzene has no therapeutic advance or

benefit in sunscreens, and therefore should not be present in such products.

         6.      Yet in May 2021, the independent lab Valisure announced that it had detected

dangerously high levels of benzene in numerous J&J products (the “Sunscreen Products”).4

Notably, Valisure identified benzene levels over 2 ppm in 10Neutrogena sunscreen batches from

five separate product lines, with levels even exceeding 6 ppm in some instances. Additionally,

Valisure identified benzene levels between .1 and 2 ppm in thirteen Neutrogena sunscreen batches

from ten different product lines.

         7.      Alarmed by these results, Valisure filed a citizen petition with the FDA to recall

the products on May 24, 2021.

         8.      Despite knowing that its products contained benzene, J&J waited months before

recalling five of its products:

             NEUTROGENA® Beach Defense® aerosol sunscreen,

             NEUTROGENA® Cool Dry Sport aerosol sunscreen,

             NEUTROGENA® Invisible Daily™ defense aerosol sunscreen,

             NEUTROGENA® Ultra Sheer® aerosol sunscreen, and

             AVEENO® Protect + Refresh aerosol sunscreen.


4
 The Sunscreen Products include the Neutrogena and Aveeno products listed in Paragraph 8, as
well as those identified as containing benzene in the Valisure citizen petition, attached hereto as
Exhibit A.




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        9.     The remaining J&J products found to contain dangerously high levels of benzene

remain on the market.

        10.    The presence of benzene is a particularly severe betrayal of J&J’s customers, who

purchased the products to decrease their risk of skin cancer, but who ended up unknowingly

lathering carcinogens all over their skin. Making matters worse, J&J has long emphasized the

safety and health benefits of its products, stressing that they are “#1 Dermatologist

Recommended.”

        11.    Had J&J’s customers known that the sunscreens they were using to decrease the

risk of skin cancer had actually contained carcinogens, they certainly would not have purchased

them.

                                 JURISDICTION AND VENUE

        12.    This Court has jurisdiction over the subject matter of this action pursuant to the

Class Action Fairness Act, 28 U.S.C. § 1332(d), because this is a class action in which the matter

in controversy exceeds $5,000,000, exclusive of interest and costs, and one or more of the members

of each of the putative Classes (defined below) are citizens of a different state than Defendant.

        13.    This Court has jurisdiction over J&J because J&J is incorporated in New Jersey,

has its principal place of business in New Jersey, and is authorized to conduct and do business in

New Jersey. J&J has marketed, manufactured, promoted, distributed, and sold sunscreen

protection products, including the Sunscreen Products, from New Jersey. J&J has established

sufficient minimum contacts with this State by having availed itself of the markets in this State

through its promotion, manufacture, sale, distribution and marketing of its sunscreen protection

products, such that exercise of jurisdiction by this Court is permissible. A substantial portion of all

claims alleged on behalf of Plaintiffs and the Classes arise out of conduct occurring in New Jersey.




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       14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391. Defendant transacts

business in this District and is subject to personal jurisdiction here, and a substantial part of the

events giving rise to the claims occurred in this District.

                                             PARTIES

       A.      Plaintiffs

       15.     Plaintiff Robert Alexander Bodine is a resident of Lane County, Oregon. Plaintiff

Bodine purchased at least one Sunscreen Product sold by Defendant. Plaintiff Bodine would not

have purchased nor used the Sunscreen Products had Defendant not breached its express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of the Sunscreen Products. Thus, Plaintiff Bodine has suffered

concrete injury as a direct and proximate result of Defendant’s wrongful conduct.

       16.     Plaintiff Halle Ellingson is a resident of Whatcom County, Washington. Plaintiff

Ellingson purchased at least one Sunscreen Product sold by Defendant. Plaintiff Ellingson would

not have purchased nor used the Sunscreen Products had Defendant not breached its express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of the Sunscreen Products. Thus, Plaintiff Ellingson has suffered

concrete injury as a direct and proximate result of Defendant’s wrongful conduct.

       17.     Plaintiff Kurt Hall is a resident of Charleston County, South Carolina. Plaintiff Hall

purchased at least one Sunscreen Product sold by Defendant. Plaintiff Hall would not have

purchased nor used the Sunscreen Products had Defendant not breached its express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of the Sunscreen Products. Thus, Plaintiff Hall has suffered concrete injury

as a direct and proximate result of Defendant’s wrongful conduct.




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       18.     Plaintiff Bennett Johnson is a resident of Williamson County, Tennessee. Plaintiff

Johnson purchased at least one Sunscreen Product sold by Defendant. Plaintiff Johnson would not

have purchased nor used the Sunscreen Products had Defendant not breached its express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of the Sunscreen Products. Thus, Plaintiff Johnson has suffered

concrete injury as a direct and proximate result of Defendant’s wrongful conduct.

       19.     Plaintiff Kyle Melquist is a resident of Wake County, North Carolina. Plaintiff

Melquist purchased at least one Sunscreen Product sold by Defendant. Plaintiff Melquist would

not have purchased nor used the Sunscreen Products had Defendant not breached its express and

implied warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the

risks associated with the use of the Sunscreen Products. Thus, Plaintiff Melquist has suffered

concrete injury as a direct and proximate result of Defendant’s wrongful conduct.

       20.     Plaintiff Samantha Stolzenbach is a resident of Los Angeles County, California.

Plaintiff Stolzenbach purchased at least one Sunscreen Product sold by Defendant. Plaintiff

Stolzenbach would not have purchased nor used the Sunscreen Products had Defendant not

breached its express and implied warranties, and misrepresented, omitted, concealed, and/or failed

to timely disclose the risks associated with the use of the Sunscreen Products. Thus, Plaintiff

Stolzenbach has suffered concrete injury as a direct and proximate result of Defendant’s wrongful

conduct.

       21.     Plaintiff Sharon Trainor is a resident of Bay County, Florida. Plaintiff Trainor

purchased at least one Sunscreen Product sold by Defendant. Plaintiff Trainor would not have

purchased nor used the Sunscreen Products had Defendant not breached its express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks




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associated with the use of the Sunscreen Products. Thus, Plaintiff Trainor has suffered concrete

injury as a direct and proximate result of Defendant’s wrongful conduct.

       22.     Plaintiff Stacey Vaidis is a resident of Denver County, Colorado. Plaintiff Vaidis

purchased at least one Sunscreen Product sold by Defendant. Plaintiff Vaidis would not have

purchased nor used the Sunscreen Products had Defendant not breached its express and implied

warranties, and misrepresented, omitted, concealed, and/or failed to timely disclose the risks

associated with the use of the Sunscreen Products. Thus, Plaintiff Vaidis has suffered concrete

injury as a direct and proximate result of Defendant’s wrongful conduct.

       B.      Defendant

       23.     Defendant Johnson & Johnson Consumer Inc. is a New Jersey corporation with its

principal place of business in Skillman, New Jersey. J&J is a subsidiary of the Johnson & Johnson

conglomerate and the manufacturer and/or distributor of the Sunscreen Products.

                                   FACTUAL ALLEGATIONS

       A.      Benzene is a Known Carcinogen Whose Use is Heavily Regulated by the Food
               & Drug Administration

       24.     Benzene is a simple hydrocarbon found in crude oil, gasoline, and cigarette smoke.

It is primarily used as a starting material to make other chemicals, including plastics, lubricants,

dyes, detergents, drugs, and pesticides. In the past, it was used as an industrial solvent and gasoline

additive. Leukemia, multiple myeloma, non-Hodgkin’s lymphoma, and anemia are among the

diseases found to be caused by or linked to benzene.

       25.     The United States Department of Health and Health Services, World Health

Organization, and International Agency for Research on Cancer view benzene as a carcinogen.

       26.     According to FDA, benzene “should not be employed in the manufacture of drug

substances, excipients, and drug products because of [its] unacceptable toxicity or . . . deleterious




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environmental effect.” Where benzene use is “unavoidable in order to produce a drug product with

a significant therapeutic advance,” its concentration should be limited to no more than 2 ppm.5 The

National Institute for Occupational Safety and Health recommends protective equipment be worn

by any worker expecting to be exposed to benzene at concentrations of 0.1 ppm for over 10 hours

or 1 ppm for 15 minutes, and lists “skin absorption” as one way a person could be exposed to

dangerous levels of benzene.6

         27.   The FDA regulates sunscreens as an over-the-counter drug. 21 C.F.R. § 352, et seq.

The FDA’s regulations provide that an “over-the-counter sunscreen drug product in a form suitable

for topical administration is generally recognized as safe and effective and is not misbranded if it

meets” certain conditions. 21 C.F.R. § 352.1(a).

         28.   Benzene is not among the permitted active ingredients for sunscreen. 21 C.F.R. §

352.10 (“Sunscreen Drug Products for over-the-Counter Human Use: Sunscreen active

ingredients”). Nor is benzene a suitable inactive ingredient for sunscreen, as inactive ingredients

must be “safe in the amounts administered.” 21 C.F.R. § 330.1(h) (“General conditions for general

recognition as safe, effective and not misbranded”). Without a therapeutic benefit, benzene should

not be used in sunscreens.

         B.    Valisure Discovers Dangerously High-Levels of Benzene in Defendant’s
               Products

         29.   Valisure is an independent pharmacy well-respected for its work analyzing the

safety of consumer products. For example, Valisure gained considerable attention for finding the




5
  Food and Drug Administration, Q3C – Tables and List Guidance for Industry (2017), available
at https://www.fda.gov/media/71737/download.
6
  National Institute for Occupational Safety and Health (NIOSH), Benzene, available at
https://www.cdc.gov/niosh/npg/npgd0049.html.




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carcinogen N-nitrosodimethylamine in Zantac and its generic form, ranitidine, leading to a global

recall of the one-time best-selling heartburn pill.7

         30.   In May 2021, Valisure conducted a study on the potential carcinogenicity of

sunscreens. During its study, Valisure detected dangerously high levels of benzene in numerous

J&J products. This is in stark contrast to other sunscreens Valisure tested, many of which contained

no benzene. The lack of benzene in other sunscreens is not surprising, considering that benzene

has no known therapeutic benefit that would justify its use in sunscreen.

         31.   Products with avoidable levels of benzene do not “contain[] only suitable inactive

ingredients which are safe in the amounts administered” or contain only listed active ingredients

at levels “that do[] not exceed the amount reasonably required to achieve [their] intended effect.”

21 C.F.R. § 352.1(a); 21 C.F.R. § 330.1(e)(h). Accordingly, per FDA guidelines, any significant

detection of benzene in the Sunscreen Products should be deemed unacceptable.

         32.   Valisure detected unacceptably high levels of benzene in numerous J&J products.

In particular, Valisure identified benzene levels over 2 ppm in ten Neutrogena sunscreen batches

from five separate product lines.

         33.   The amount of benzene in these products reached levels as high as 6.77 ppm, more

than three times the amount the FDA would recommend even if there were a therapeutic advance

or benefit, which there is not.

         34.   Additionally, Valisure identified benzene levels between .1 and 2 ppm in thirteen

other Neutrogena sunscreen batches from ten different product lines, and amounts below .1 ppm


7
  Caroyln Y. Johnson, A Tiny Pharmacy is Identifying Big Problems with Common Drugs,
Including Zantac, Washington Post (Nov. 8, 2019), available at
https://www.washingtonpost.com/science/a-tiny-pharmacy-is-identifying-big-problems-with-
common-drugs-including-zantac/2019/11/08/6dd009ca-eb76-11e9-9c6d-
436a0df4f31d_story.html.




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in three additional products, all of which are unacceptable as benzene is not required to achieve

sunscreen’s intended effect.

       35.     Valisure concluded that the presence of carcinogenic benzene in the Sunscreen

Products is particularly troubling as the Sunscreen Products are “widely recommended for the

prevention of skin cancer and regularly used by adults and children in large volumes.”

Furthermore, Valisure noted, because “[s]unscreen products are typically used in many times

higher volume than standard drug products like tablets or capsules,” “even a relatively low

concentration limit can result in very high total exposure.”

       36.     The presence of benzene in sunscreen is particularly troubling because, according

to researchers at Health Canada’s Bureau of Chemical Hazards, the application of sunscreen

specifically increases the absorption rate of benzene through the skin. According to one Yale

University researcher and dermatologist, “there is not a safe level of benzene that can exist in

sunscreen products.”

       37.     Following its study, Valisure filed a citizen petition with the FDA, detailing its

findings and asking the FDA to recall all batches of sunscreen products in which benzene was

detected, including the Sunscreen Products.

       38.     As Valisure explained in its petition, the presence of benzene in the Sunscreen

Products renders them adulterated under Section 501 of the Federal Drug and Cosmetics Act

(“FDCA”) and misbranded under Section 502 of the FDCA, in violation of 21 U.S.C. § 351 and

21 U.S.C. § 352, respectively.

       39.     Yet despite the prohibition on manufacturing and distributing misbranded or

adulterated drugs, J&J waited nearly two months before removing the Sunscreen Products from




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the market. Furthermore, other J&J products containing dangerously high levels of benzene remain

on the market.

       40.       Valisure was unable to determine how benzene became present in J&J’s

sunscreens, which do not list benzene as either an active or inactive ingredient. Valisure proposed

contamination as one possible explanation for the presence of benzene in J&J’s sunscreens.

       41.       To date, however, J&J has not explained why or how benzene is present in the

Sunscreen Products, or whether J&J conducted testing that could have and should have detected

benzene.

       C.        Defendant Deceptively Sells Its Carcinogenic Products to Consumers

       42.       J&J has long marketed its sunscreens, including the Sunscreen Products, as safe

and healthy, making the presence of carcinogenic benzene in its products particularly shocking.

                 1.     Neutrogena

       43.       J&J has long represented that its Neutrogena products are “#1 Dermatologist

Recommended.” The basis for this representation is unclear, and the claim remains unchanged

despite Valisure’s discovery of carcinogens in several J&J products.

       44.       J&J’s Neutrogena advertising and packaging emphasize the brand’s safety and

health benefits. For example, in its packaging and advertising for its Neutrogena Ultra Sheer

products, which is among the Sunscreen Products, J&J repeatedly describes its products as “clean.”

       45.       J&J uses similar tactics in its commercials. For example, commercials for

Neutrogena Ultra Sheer, starring actress Jennifer Garner, prominently display the representation,

“#1 Dermatologist Recommended Suncare.” In these commercials, Ms. Garner emphasizes the

“clean” feel of the product and deems it “the best for your skin.”

       46.       Another commercial, advertising the Neutrogena Beach Defense line, features

children playing on a beach and happily being sprayed with Neutrogena sunscreen, the “sun care



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brand used most by dermatologists and their families.” The imagery does not suggest that the

children are being sprayed with carcinogens.

       47.     Such claims are also found on Neutrogena’s website. While the FDA requires

testing for all sunscreen products, J&J touts its Neutrogena products as “[l]eading the way” in

product testing, with an entire page on its website devoted to its high product-testing standards.

       48.     According to the Neutrogena website, J&J “not only follow[s] individual country

regulations, but also look[s] to incorporate the best thinking and practices from top authorities for

skincare products around the world.” J&J also states that Neutrogena “set[s] a high bar for using

ingredients” which are “screened for quality, manufacturing process, government regulations,

published research, and our own ingredient safety databases.”

       49.     And despite marketing the Sunscreen Products laced with a known carcinogen, J&J

also asserts on the Neutrogena website that the safety of its products “goes beyond the ingredients

list,” with attention also paid to “how our ingredients are used, our manufacturing safeguards, how

the products are used, and testing requirements for our products.”

       50.     Neutrogena even created the “Choose Skin Health Movement,” which was

purportedly designed to “change the future of skin health and reduce the risk of skin cancer through

education, empowerment, and early detection.” Several celebrities filmed spots for the campaign,

including Ms. Garner and Kerry Washington. In one commercial, Ms. Garner emphasized the

statistics on skin cancer and stated that she chooses Neutrogena products because “[she] choose[s]

skin health.” In another commercial, Ms. Garner states that, every day, she wears Neutrogena Ultra

Sheer 45—which comes from the same product line as those found to contain benzene—because

she chooses “skin health.”




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          51.   In yet another video, Ms. Washington advises viewers to “[p]rotect yourself and

those you love. Choose skin health for a lifetime of healthy skin.” Yet choosing Neutrogena, and

its benzene-containing products, is not choosing skin health.

                2.     Aveeno

          52.   J&J’s Aveeno products have similar branding. Aveeno products, including the

Sunscreen Products, include claims that they have been “Dermatologist recommended for over 65

years.”

          53.   J&J’s Aveeno website also emphasizes its health benefits. For example, J&J’s

“About Aveeno” webpage advises that it provides “Healthy Skin, Naturally: Nature fuels our

healthy spirit, just like healthy skin fuels yours. We research and work with scientists and

dermatologists around the world to unlock therapeutic power of nature’s most restorative

ingredients, giving you clinically-proven products that nurture and care for your skin, so you can

care for what’s most important in life.” The webpage goes on to explain that Aveeno was started

by two brothers who believed that “nature holds the secret to human health” after “[t]he famous

Mayo Clinic dermatologists recognized [the brothers’] pioneering work.”

          54.   J&J’s Aveeno website also contains a “Commitment to Wellness.” According to

this webpage, “Good enough’ is never good enough for Aveeno®. Our internal standards for safety

testing and ingredient quality far exceed those set by regulators around the world. We think about

every element we use in every one of our products—where it came from, what it does and how it

impacts you and your skin. Only ingredients that pass our strict 5-step safety assurance process are

used.”

                3.     J&J

          55.   In addition to the claims it makes on the Aveeno and Neutrogena websites, J&J also

promises a “Safety & Care Commitment.” As part of this commitment, J&J claims that “Your



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safety is our priority. That’s why our safety assessment process meets or exceeds industry and

regulatory standards for baby and beauty personal care products. It’s a process that never ends—

we continually review our product ingredients against the latest research and consumer feedback.

We believe our process is among the most rigorous in the world and is at the core of our Safety &

Care Commitment.”

         56.   J&J asserts that its “Safety & Care Commitment means that every product is

carefully reviewed and evaluated against internationally recognized standards.”

         57.   J&J’s failure to prevent the presence of benzene in the Sunscreen Products

constitutes actionable fraud. J&J misled and defrauded consumers by making affirmative

misrepresentations that portray the Sunscreen Products as safe and healthy, and omitting from the

Sunscreen Products’ packaging and marketing materials information about the actual danger of

the Sunscreen Products, including any warning to consumers that the Sunscreen Products may

contain unacceptable levels of cancer-causing benzene, rendering them adulterated, misbranded

and illegal.

         58.   The Sunscreen Products do not require benzene as an active ingredient, and even if

they did, many of the Sunscreen Products still contain more than the FDA’s 2 ppm concentration

limit.

         59.   Therefore the Sunscreen Products are adulterated, misbranded, illegal and unfit for

sale in trade or commerce, and legally worthless. No consumer would have purchased the

Sunscreen Products had they been truthfully and accurately labeled. Accordingly, Plaintiffs and

the Classes (defined herein) were injured by paying the full purchase price of the Products.




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       60.     Plaintiffs and the Classes purchased the Sunscreen Products believing them to be

free of benzene. Because J&J sold Plaintiffs and the Classes products that may contain dangerously

high levels of benzene, Plaintiffs and the Classes were deprived of the benefit of their bargain.

                                 STATUTE OF LIMITATIONS

       A.      The Statute of Limitations Did Not Begin to Run Because Plaintiffs Did Not
               and Could Not Discover Defendant’s Unlawful Conduct

       61.     The discovery rule tolled any statute of limitations otherwise applicable to the

claims asserted herein.

       62.     Plaintiffs and members of the Classes did not discover, and could not have

discovered through the exercise of reasonable diligence, the presence of benzene in the Sunscreen

Products until Valisure announced its findings in May 2021.

       63.     Plaintiffs and members of the Classes had no knowledge that the Sunscreen

Products contained benzene until Valisure announced its findings, or of facts sufficient to place

them on inquiry notice of the claims set forth.

       64.     Until May 2021, no information concerning the presence of benzene in the

Sunscreen Products was in the public domain or available to Plaintiffs and members of the Classes.

       65.     For these reasons, the statute of limitations as to the claims of Plaintiffs and the

Classes did not begin to run until, at the earliest, May 2021.

       B.      Fraudulent Concealment Tolled the Statute of Limitations

       66.     In the alternative, J&J’s fraudulent concealment tolled the statute of limitations on

the claims asserted by Plaintiffs and the Classes.

       67.     Under the fraudulent concealment doctrine, the claims of Plaintiffs and members

of the Classes only accrue upon the discovery that J&J deceived them into purchasing the

Sunscreen Products, which contain(ed) carcinogenic benzene.




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       68.     J&J kept Plaintiffs and members of the Classes in the dark by concealing crucial

information required for the prosecution of their claims, without any fault or lack of diligence on

their part. Plaintiffs and members of the Classes did not discover, and could not discover through

the exercise of reasonable diligence, the presence of benzene in the Sunscreen Products, and

therefore were unaware of J&J’s deception.

       69.     Plaintiffs and members of the Classes were unaware of J&J’s deceptive conduct

and did not know that they were purchasing products containing benzene. Plaintiffs and members

of the Classes would not have purchased the Sunscreen Products had they known they contained

benzene. No information, actual or constructive, was ever made available to Plaintiffs and

members of the Classes that they were being injured by J&J’s unlawful conduct.

       70.     Notably, none of the Sunscreen Products list benzene as an active or inactive

ingredient, and the FDA significantly limits the use of benzene. Benzene has no therapeutic

purpose in sunscreens, and therefore should not have been present in the Sunscreen Products.

       71.     Furthermore, J&J’s advertising, labeling, and branding stress the healthy and safe

nature of their products, including the Sunscreen Products. Nothing in the advertising, labeling,

and branding materials would suggest that the Sunscreen Products contained benzene.

       72.     Because the presence of benzene was not disclosed to customers until Valisure

announced its findings in May 2021, Plaintiffs and members of the Classes had no knowledge of

J&J’s deception, or of any facts or information that would have caused a reasonably diligent person

to investigate whether there was such deception, until at least May 2021.

       73.     For these reasons, the statute of limitations applicable to the claims of Plaintiffs and

the Classes was tolled and did not begin to run.




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                                CLASS ACTION ALLEGATIONS

       74.       Plaintiffs bring this action on behalf of themselves and as a class action under Rule

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of the following classes

of consumers8:

       75.       The Nationwide Class:

       All consumers who purchased any Sunscreen Products in the United States for
       personal use or consumption. Excluded from the Nationwide Class are Defendant
       and its employees, affiliates, parents, and subsidiaries, whether or not named in
       this Complaint, as well as all federal governmental entities and instrumentalities
       of the federal government, states, and their subdivisions, agencies, and
       instruments.

       76.       The New Jersey Class:

       All consumers who purchased any Sunscreen Products in New Jersey for personal
       use or consumption. Excluded from the New Jersey Class are Defendant and its
       employees, affiliates, parents, and subsidiaries, whether or not named in this
       Complaint, as well as all federal governmental entities and instrumentalities of the
       federal government, states, and their subdivisions, agencies, and instruments.

       77.       The California Class:

       All consumers who purchased any Sunscreen Products in California for personal
       use or consumption. Excluded from the California Class are Defendant and its
       employees, affiliates, parents, and subsidiaries, whether or not named in this
       Complaint, as well as all federal governmental entities and instrumentalities of the
       federal government, states, and their subdivisions, agencies, and instruments.

       78.       The Colorado Class:

       All consumers who purchased any Sunscreen Products in Colorado for personal
       use or consumption. Excluded from the Colorado Class are Defendant and its
       employees, affiliates, parents, and subsidiaries, whether or not named in this
       Complaint, as well as all federal governmental entities and instrumentalities of the
       federal government, states, and their subdivisions, agencies, and instruments.




8
 For avoidance of doubt, Plaintiffs are not asserting claims in this action either individually or
on behalf of a class relating to personal bodily injury resulting from the use of Sunscreen
Products.




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      79.    The Florida Class:

      All consumers who purchased any Sunscreen Products in Florida for personal use
      or consumption. Excluded from the Florida Class are Defendant and its
      employees, affiliates, parents, and subsidiaries, whether or not named in this
      Complaint, as well as all federal governmental entities and instrumentalities of the
      federal government, states, and their subdivisions, agencies, and instruments.

      80.    The North Carolina Class:

      All consumers who purchased any Sunscreen Products in North Carolina for
      personal use or consumption. Excluded from the North Carolina Class are
      Defendant and its employees, affiliates, parents, and subsidiaries, whether or not
      named in this Complaint, as well as all federal governmental entities and
      instrumentalities of the federal government, states, and their subdivisions,
      agencies, and instruments.

      81.    The Oregon Class:

      All consumers who purchased any Sunscreen Products in Oregon for personal use
      or consumption. Excluded from the Oregon Class are Defendant and its
      employees, affiliates, parents, and subsidiaries, whether or not named in this
      Complaint, as well as all federal governmental entities and instrumentalities of the
      federal government, states, and their subdivisions, agencies, and instruments.

      82.    The South Carolina Class:

      All consumers who purchased any Sunscreen Products in South Carolina for
      personal use or consumption. Excluded from the South Carolina Class are
      Defendant and its employees, affiliates, parents, and subsidiaries, whether or not
      named in this Complaint, as well as all federal governmental entities and
      instrumentalities of the federal government, states, and their subdivisions,
      agencies, and instruments.

      83.    The Tennessee Class:

      All consumers who purchased any Sunscreen Products in Tennessee for personal
      use or consumption. Excluded from the Tennessee Class are Defendant and its
      employees, affiliates, parents, and subsidiaries, whether or not named in this
      Complaint, as well as all federal governmental entities and instrumentalities of the
      federal government, states, and their subdivisions, agencies, and instruments.




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       84.      The Washington Class:

       All consumers who purchased any Sunscreen Products in Washington for
       personal use or consumption. Excluded from the Washington Class are Defendant
       and its employees, affiliates, parents, and subsidiaries, whether or not named in
       this Complaint, as well as all federal governmental entities and instrumentalities
       of the federal government, states, and their subdivisions, agencies, and
       instruments.

       85.      The Nationwide Class, New Jersey Class, California Class, Colorado Class, Florida

Class, North Carolina Class, Oregon Class, South Carolina Class, Tennessee Class, and

Washington Class, are collectively referred to as the “Classes.”

       86.      The members of the proposed Classes are so numerous that joinder of all members

would be impractical. The proposed Classes likely contain thousands or millions of members. The

number of class members can be ascertained through discovery.

       87.      The representative Plaintiffs’ claims are typical of the claims of the members of the

Classes. Plaintiffs and members of the Classes have been injured by the same wrongful practices

of Defendant. Plaintiffs’ claims arise from the same practices and course of conduct that give rise

to the claims of the members of the Classes and are based on the same legal theories.

       88.      Plaintiffs are adequate representatives who will fully and adequately assert and

protect the interests of the Classes, and have retained class counsel who are experienced and

qualified in prosecuting class actions. Neither Plaintiffs nor their attorneys have any interests

contrary to or in conflict with the Classes.

       89.      There are common questions of law and fact that predominate over any questions

affecting only individual members of the Classes, including:

             (a) whether J&J’s Sunscreen Products contained benzene;




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         (b) whether J&J’s representations and omissions, seen in their marketing, advertising,

            packaging, labeling, and other promotional materials are misleading, or

            objectively reasonably likely to deceive;

         (c) whether J&J’s alleged conduct violates public policy;

         (d) whether J&J engaged in false or misleading advertising;

         (e) whether J&J’s conduct violated the New Jersey Consumer Fraud Act (N.J.S.A. §

            56:8-1, et seq.);

         (f) whether J&J’s conduct violated the California Unfair Competition Law (Cal. Bus.

            & Prof. Code § 17200, et seq.);

         (g) whether J&J’s conduct violated the California Consumers Legal Remedies Act

            (Cal. Civ. Code § 1750, et seq.);

         (h) whether J&J’s conduct violated the Colorado Consumer Protection Act (Colo.

            Rev. Stat. Ann. § 6-1-101, et seq.);

         (i) whether J&J’s conduct violated the Florida Deceptive and Unfair Trade Practices

            Act (Fla. Stat. § 501.201, et seq.);

         (j) whether J&J’s conduct violated the North Carolina Unfair and Deceptive Trade

            Practices Act (N.C. Gen. Stat. Ann. § 75-1.1, et seq.);

         (k) whether J&J’s conduct violated the Oregon Unlawful Trade Practices Act (Or.

            Rev. Stat. Ann. § 646.605, et seq.);

         (l) whether J&J’s conduct violated the South Carolina Unfair Trade Practices Act

            (S.C. Code Ann. § 39-5-10, et seq.);

         (m) whether J&J’s conduct violated the Tennessee Consumer Protection Act of 1977

            (Tenn. Code Ann. § 47-18-101, et seq.);




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             (n) whether J&J’s conduct violated the Washington Consumer Protection Act (Wash.

                Rev. Code Ann. § 19.86.010, et seq.);

             (o) whether J&J’s conduct violated the breach of express warranty causes of action in

                California, Colorado, Florida, North Carolina, Oregon, South Carolina,

                Tennessee, and Washington;

             (p) whether J&J’s conduct violated the breach of implied warranty causes of action in

                California, Colorado, Florida, North Carolina, Oregon, South Carolina,

                Tennessee, and Washington;

             (q) whether J&J is liable to Plaintiffs and the Classes for unjust enrichment;

             (r) whether the statute of limitations was tolled due to the discovery rule and/or

                fraudulent concealment;

             (s) whether Plaintiffs and members of the Classes are entitled to treble damages,

                damages, and/or restitution and the proper measure of that loss; and

             (t) whether Plaintiffs and the members of the Classes are entitled to declaratory and

                injunctive relief.

       90.      A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the

Classes is economically infeasible and procedurally impracticable. While the aggregate damages

sustained by the Classes are likely in the millions of dollars, the individual damages incurred by

each Class member are too small to warrant the expense of individual suits. The likelihood of

individual Class members prosecuting their own separate claims is remote, and even if every

member of the Classes could afford individual litigation, the court system would be unduly

burdened by individual litigation of such cases. Further, individual members of the Classes do not




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have a significant interest in individually controlling the prosecution of separate actions, and

individualized actions would result in varying, inconsistent, or contradictory judgments and would

magnify the delay and expense to all parties and the court system because that would result from

multiple trials of the same factual and legal issues. Plaintiffs know of no difficulty to be

encountered in the management of this action that would preclude its maintenance as a class action.

       91.      Plaintiffs and Class members also seek injunctive relief. They do not have an

adequate remedy at law because many of the resulting injuries are reoccurring, and Plaintiffs and

Class members will be forced to bring multiple lawsuits to rectify the same conduct. If an

injunction is not issued, Plaintiffs and Class members will suffer irreparable injury. Plaintiffs and

Class members are entitled to an order enjoining J&J from engaging in the unlawful conduct

alleged in this complaint, requiring J&J to recall all benzene-containing sunscreen products that it

has not yet recalled, implementing procedures to identify other products that may contain benzene,

requiring J&J to disclose the amount of benzene in any product it sells, prohibiting J&J from

releasing or selling any such products in the future without disclosing their benzene content, and

other appropriate equitable relief.

                                FIRST CAUSE OF ACTION
             Violation of New Jersey Consumer Fraud Act, N.J.S.A. § 56:8-1, et seq.
                              (On Behalf of the New Jersey Class)

       92.     Plaintiffs assert this claim on behalf of the Nationwide Class, or, alternatively, the

New Jersey Class.

       93.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       94.     The New Jersey Consumer Fraud Act (“NJCFA”) prohibits “the act, use or

employment by any person of any unconscionable commercial practice, deception, fraud, false

pretense, false promise, misrepresentation, or the knowing concealment, suppression, or omission




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of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale or advertisement of any merchandise . . . .” N.J.S.A. § 56:8-2.

        95.     J&J engaged in such unconscionable commercial practices, deceptions, frauds,

false pretenses, false promises, misrepresentations, or knowing concealment by failing to disclose

the presence of benzene in the Sunscreen Products, and by making affirmative statements

regarding the ingredients, safety, and health benefits of the Sunscreen Products in violation of the

NJCFA.

        96.     Plaintiffs and members of the Classes suffered injury in fact and lost money as a

result of J&J’s conduct. J&J falsely and misleadingly represented that Sunscreen Products were

healthy and safe for consumers, while omitting to disclose that they contained the carcinogen

benzene. The presence of benzene rendered the Sunscreen Products unsafe, adulterated, and

misbranded. Had Plaintiffs and members of the Classes known the truth about the Sunscreen

Products, they would not have purchased the Sunscreen Products.

        97.     J&J’s actions are deceptive and in clear violation of NJCFA, entitling Plaintiffs and

members of the Classes to treble damages and relief under N.J.S.A. § 56:8-19.

        98.     Accordingly, Plaintiffs seek all damages, injunctive and equitable relief, and

attorneys’ fees and costs available under the NJCFA.

                                SECOND CAUSE OF ACTION
                          Violations of State Consumer Protection Laws
                            (On Behalf of the State-Specific Classes)

        A.      Violation of the California Unfair Competition Law (Cal. Bus. & Prof. Code §
                17200, et seq.) (On Behalf of the California Class)

        99.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.




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       100.    Plaintiff Stolzenbach brings this cause of action on behalf of herself and the

California Class.

       101.    J&J’s conduct as alleged herein constitutes unlawful, unfair, and/or fraudulent

business acts or practices as prohibited by the California Unfair Competition Law (“UCL”).

       102.    J&J’s acts and practices are unlawful under the UCL because J&J’s manufacturing,

marketing, distributing, and selling of the Sunscreen Products violates California’s Sherman Food,

Drug, and Cosmetics Law, Cal. Health & Safety Code § 111225, et seq. (“Sherman Law”).

       103.    The Sherman Law provides that a drug is misbranded if its labeling is false or

misleading in any way and further provides that it is unlawful for any person to misbrand any drug.

Cal. Health & Safety Code §§ 111330, 111440, 111445.

       104.    J&J is a “person” within the meaning of the Sherman Act. Cal. Health & Safety

Code § 109995.

       105.    J&J’s acts and practices are also unlawful because they violate California’s

Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq. (“CLRA”) and False Advertising

Law, Cal. Bus. & Prof. Code. § 17500, et seq., which forbids deceptive, untrue or misleading

advertising.

       106.    J&J’s marketing of the Sunscreen Products deceived reasonable consumers

throughout California. Indeed, Plaintiff Stolzenbach and the members of the California Class were

deceived regarding the risks of the Sunscreen Products, as J&J’s marketing of the Sunscreen

Products nowhere disclosed that the Sunscreen Products may contain benzene, but instead

portrayed the Sunscreen Products as safe and healthy.

       107.    J&J’s acts and practices are unfair under the UCL because California has a strong

public policy against deceptive marketing of consumer products. J&J’s acts and practices are also




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unfair in that they are immoral, unethical, oppressive, unscrupulous and/or substantially injurious

to consumers. The gravity of the harm of J&J’s conduct to Plaintiff Stolzenbach and the members

of the California Class is significant, and there is no corresponding benefit resulting from such

conduct.

       108.    J&J’s acts and practices are also fraudulent within the meaning of the UCL. J&J

sold large quantities of the Sunscreen Products to members of the California Class, while failing

to disclose that the Sunscreen Products contained benzene. J&J’s acts and practices were likely to,

and did, deceive members of the public, including Plaintiff Stolzenbach and members of the

California Class.

       109.    Plaintiff Stolzenbach and the members of the California Class have lost money and

property and otherwise suffered economic loss as a result of J&J’s conduct in violation of the UCL.

J&J’s deception caused Plaintiff Stolzenbach and the members of the California Class to purchase

the Sunscreen Products. Had they known and understood the true nature and quality of the

Sunscreen Products, Plaintiff Stolzenbach and the members of the California Class would not have

purchased the Sunscreen Products. As a result, they surrendered in a transaction more, and

acquired in a transaction less, than they otherwise would have.

       110.    Plaintiff Stolzenbach and the California Class members also seek injunctive relief.

They do not have an adequate remedy at law because many of the resulting injuries are reoccurring,

and Plaintiff Stolzenbach and the California Class members will be forced to bring multiple

lawsuits to rectify the same conduct. If an injunction is not issued, Plaintiff Stolzenbach and the

California Class members will suffer irreparable injury.

       111.    As a result of the business practices described above, Business and Professions

Code § 17203 entitles Plaintiff Stolzenbach and the members of the California Class to an order




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enjoining such future conduct on the part of J&J and such other solely injunctive or declaratory

relief which may be necessary as a result of its wrongful conduct.

        B.      Violation of the California Consumers Legal Remedies Act (Cal. Civ. Code §
                1750, et seq.) (On Behalf of the California Class)

        112.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        113.    Plaintiff Stolzenbach brings this cause of action on behalf of herself and the

California Class.

        114.    This cause of action is brought pursuant to the California CLRA, Cal. Civ. Code §

1750, et seq.

        115.    Plaintiff Stolzenbach and the members of the California Class are “consumers” as

that term is defined by the CLRA in Cal. Civ. Code § 1761(d).

        116.    J&J’s actions, representations, and conduct, as described above, and each of them,

have violated and continue to violate the CLRA, because they extend to transactions that are

intended to result, or which have resulted, in the sale or lease of goods to consumers.

        117.    The Sunscreen Products that Plaintiff Stolzenbach and the members of the

California Class purchased from J&J are “goods” within the meaning of Cal. Civ. Code § 1761(a).

        118.    J&J’s acts and practices constitute deceptive methods of competition, in that it

misrepresents the safety of the Sunscreen Products and omits that the Sunscreen Products contain

a dangerous carcinogen, in violation of Cal. Civ. Code § 1770(a)(5).

        119.    J&J’s acts and practices constitute deceptive methods of competition, in that J&J

misrepresents the particular standard, quality, or grade of the Sunscreen Products, in violation of

Cal. Civ. Code § 1770(a)(7).




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         120.     J&J’s acts and practices constitute deceptive methods of competition, in that J&J

represents that the Sunscreen Products have been supplied in accordance with a previous

representation when they have not, in violation of Cal. Civ. Code § 1770(a)(16).

         121.     Plaintiff Stolzenbach and the California Class request that this Court enjoin J&J

from continuing to employ the unlawful methods, acts, and practices alleged herein, and any other

solely declaratory or injunctive relief the Court deems proper pursuant to Cal. Civ. Code § § 1780

and 1781. If J&J is not restrained from engaging in these types of practices on the future, Plaintiff

Stolzenbach and the members of the California Class will continue to suffer harm.

         C.       Violation of the Colorado Consumer Protection Act (Colo. Rev. Stat. Ann. §
                  6-1-101, et seq.) (On Behalf of the Colorado Class)

         122.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         123.     Plaintiff Stacey Vaidis asserts this claim on behalf of herself and the Colorado

Class.

         124.     J&J, Plaintiff Vaidis and the members of the Colorado Class are “[p]erson[s]”

within the meaning of Colo. Rev. Stat. Ann. § 6-1-102(6).

         125.     The Colorado Consumer Protection Act (“Colorado CPA”) prohibits unfair,

unconscionable, and deceptive acts or practices “in the course of the person’s business, vocation,

or occupation.” Colo. Rev. Stat. Ann. § 6-1-105(1).

         126.     The Colorado CPA makes unlawful specific acts, including:

             “[r]epresent[ing] that goods . . . are of a particular standard, quality, or grade,
              or that goods are of a particular style or model, if he knows or should know that
              they are of another” (Colo. Rev. Stat. Ann. § 6-1-105(1)(g));

             “[a]dvertis[ing] goods . . . with intent not to sell them as advertised” (Colo. Rev.
              Stat. Ann. § 6-1-105(1)(i));




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          “[f]ails to disclose material information concerning goods . . . which
           information was known at the time of an advertisement or sale if such failure to
           disclose such information was intended to induce the consumer to enter into a
           transaction” (Colo. Rev. Stat. Ann. § 6-1-105(1)(u)); and

          “[e]ither knowingly or recklessly engage[ing] in any unfair, unconscionable,
           deceptive, deliberately misleading, false, or fraudulent act or practice” (Colo.
           Rev. Stat. Ann. § 6-1-105(1)(kkk)).

       127.    J&J is engaged in the practice of manufacturing, marketing, distributing, selling,

and otherwise placing into the stream of commerce the Sunscreen Products, which constitutes trade

and commerce under the Colorado CPA.

       128.    J&J, directly or through its agents, employees, and/or subsidiaries, violated the

Colorado CPA by knowingly and intentionally misrepresenting, omitting, concealing, and failing

to disclose material facts regarding the Sunscreen Products, including that such products contained

benzene, as detailed above. Such conduct was bad faith conduct under the Colorado CPA.

       129.    Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose, as detailed

above, J&J engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of the Colorado CPA, including:

          representing that the Sunscreen Products have characteristics, uses, benefits,
           and qualities which they do not have;

          representing that the Sunscreen Products are of a particular standard, quality,
           and grade when they are not;

          advertising the Sunscreen Products with the intent not to sell them as advertised;
           and

          engaging in any other unconscionable, false, misleading, or deceptive act or
           practice in the conduct of trade or commerce.




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       130.    J&J’s misrepresentations and omissions regarding the unreasonably dangerous

nature of the Sunscreen Products were disseminated to Plaintiff Vaidis and the Colorado Class

members in a uniform manner.

       131.    J&J’s unfair or deceptive acts or practices, including their misrepresentations,

concealments, omissions, and suppressions of material facts, as alleged herein, had a tendency or

capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

fact, did deceive reasonable consumers, including Plaintiff Vaidis and members of the Colorado

Class, about the unreasonably dangerous nature of the Sunscreen Products.

       132.    The facts regarding the Sunscreen Products that J&J knowingly and intentionally

misrepresented, omitted, concealed, and failed to disclose would be considered material by a

reasonable consumer, and they were, in fact, material to Plaintiff Vaidis and the Colorado Class,

who consider such facts to be important to their purchase decisions with respect to Sunscreen

Products.

       133.    Plaintiff Vaidis and members of the Colorado Class relied on J&J’s

misrepresentations, omissions, and concealments with respect to the Sunscreen Products by

purchasing and continuing to purchase the Sunscreen Products after J&J’s misrepresentations,

omissions, and concealments were made.

       134.    Plaintiff Vaidis and members of the Colorado Class had no way of discerning that

J&J’s representations were false and misleading, or otherwise learning the facts that J&J had

concealed or failed to disclose. Plaintiff Vaidis and members of the Colorado Class did not, and

could not, unravel J&J’s deception on their own.

       135.    J&J had an ongoing duty to Plaintiff Vaidis and members of the Colorado Class to

refrain from unfair and deceptive practices under the Colorado CPA in the course of their business.




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Specifically, J&J owed Plaintiff Vaidis and members of the Colorado Class a duty to disclose all

material facts regarding the Sunscreen Products, including that such products were unreasonably

dangerous and not fit to be used for their intended purpose. J&J possessed exclusive knowledge

of such facts but intentionally concealed them from Plaintiff Vaidis and members of the Colorado

Class, and/or made misrepresentations that were rendered misleading because they were

contradicted by withheld facts.

        136.    Plaintiff Vaidis and members of the Colorado Class suffered injury in fact and lost

money as a result of J&J’s conduct. J&J falsely and misleadingly represented that Sunscreen

Products were healthy and safe for consumers, while omitting to disclose that they contained the

carcinogen benzene. The presence of benzene rendered the Sunscreen Products unsafe,

adulterated, and misbranded. Had Plaintiff Vaidis and members of the Colorado Class known the

truth about the Sunscreen Products, they would not have purchased the Sunscreen Products.

        137.    J&J’s violations present a continuing risk to Plaintiff Vaidis and members of the

Colorado Class, as well as to the general public. J&J’s unlawful acts and practices alleged herein

affect the public interest.

        138.    As a result of J&J’s violations of the Colorado CPA, as alleged herein, Plaintiff

Vaidis and members of the Colorado Class seek an order enjoining J&J’s unfair or deceptive acts

or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the Colorado CPA.

        D.      Violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §
                501.201, et seq. (On Behalf of the Florida Class)

        139.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        140.    Plaintiff Trainor asserts this claim on behalf of herself and the Florida Class.




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       141.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) renders

unlawful unfair methods of competition, unconscionable acts or practices, and unfair or deceptive

acts or practices in the conduct of any trade or commerce. Fla. Stat. § 501.204.

       142.    Among other purposes, FDUTPA is intended “[t]o protect the consuming public

and legitimate business enterprises from those who engaged in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

Fla. Stat. § 501.202.

       143.    J&J is engaged in the practice of manufacturing, marketing, distributing, selling,

and otherwise placing into the stream of commerce the Sunscreen Products, which constitutes trade

and commerce under the FDUTPA.

       144.    Plaintiff Trainor and the members of the Florida Class suffered injury in fact and

lost money as a result of J&J’s conduct. J&J falsely and misleadingly represented that Sunscreen

Products were healthy and safe for consumers, while omitting to disclose that they contained the

carcinogen benzene. The presence of benzene rendered the Sunscreen Products unsafe,

adulterated, and misbranded. Had Plaintiff Trainor and members of the Florida Class known the

truth about the Sunscreen Products, they would not have purchased the Sunscreen Products.

       145.    J&J’s actions are deceptive and in clear violation of FDUTPA, entitling Plaintiff

Trainor and the members of the Florida Class to damages and relief under Fla. Stat. §§

501.201-213.

       146.    Accordingly, Plaintiff Trainor and the Florida Class seek all damages, injunctive

and equitable relief, and attorneys’ fees and costs available under the FDUTPA.




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        E.      Violation of the North Carolina Unfair and Deceptive Trade Practices Act
                (N.C. Gen. Stat. Ann. § 75-1.1, et seq.) (On Behalf of the North Carolina Class)

        147.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        148.    Plaintiff Melquist brings this cause of action on behalf of himself and the North

Carolina Class.

        149.    J&J was and is engaged in “commerce” within the meaning of N.C. Gen. Stat. Ann.

§ 75-1.1(b).

        150.    The North Carolina Unfair and Deceptive Trade Practices Act (“North Carolina

UDTPA”) prohibits “[u]nfair methods of competition in or affecting commerce, and unfair or

deceptive acts or practices in or affecting commerce,” N.C. Gen. Stat. Ann. § 75-1.1(a), and

provides a private right of action for any person injured “by reason of any act or thing done by any

other person, firm or corporation in violation of” the law. N.C. Gen. Stat. Ann. § 75-16.

        151.    In the course of its business, J&J, directly or through its agents, employees, and/or

subsidiaries, violated the North Carolina UDTPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding the Sunscreen Products,

including that such products were unreasonably dangerous and not fit to be used for their intended

purpose, as detailed above.

        152.    Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose, as detailed

above, J&J engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of the North Carolina UDTPA.




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       153.    J&J’s misrepresentations and omissions regarding the unreasonably dangerous

nature of the Sunscreen Products were disseminated to Plaintiff Melquist and the North Carolina

Class members in a uniform manner.

       154.    J&J’s unfair or deceptive acts or practices, including their misrepresentations,

concealments, omissions, and suppressions of material facts, as alleged herein, had a tendency or

capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

fact, did deceive reasonable consumers, including Plaintiff Melquist and the North Carolina Class

members, about the unreasonably dangerous nature of the Sunscreen Products.

       155.    The facts regarding the Sunscreen Products that J&J knowingly and intentionally

misrepresented, omitted, concealed, and failed to disclose would be considered material by a

reasonable consumer, and they were, in fact, material to Plaintiff Melquist and the members of the

North Carolina Class, who consider such facts to be important to their purchase decisions with

respect to the Sunscreen Products.

       156.    Plaintiff Melquist and the members of the North Carolina Class had no way of

discerning that J&J’s representations were false and misleading, or otherwise learning the facts

that J&J had concealed or failed to disclose. Plaintiff Melquist and the members of the North

Carolina Class did not, and could not, unravel J&J’s deception on their own.

       157.    J&J had an ongoing duty to Plaintiff Melquist and the members of the North

Carolina Class to refrain from unfair and deceptive practices under the North Carolina UDTPA in

the course of its business. Specifically, J&J owed Plaintiff Melquist and members of the North

Carolina Class a duty to disclose all material facts regarding the Sunscreen Products, including

that such products were unreasonably dangerous and not fit to be used for their intended purpose.

J&J possessed exclusive knowledge of such facts but intentionally concealed them from Plaintiff




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Melquist and the members of the North Carolina Class, and/or made misrepresentations that were

rendered misleading because they were contradicted by withheld facts.

         158.   Plaintiff Melquist and the members of the North Carolina Class suffered injury in

fact and lost money as a result of J&J’s conduct. J&J falsely and misleadingly represented that

Sunscreen Products were healthy and safe for consumers, while omitting to disclose that they

contained the carcinogen benzene. The presence of benzene rendered the Sunscreen Products

unsafe, adulterated, and misbranded. Had Plaintiff Melquist and members of the North Carolina

Class known the truth about the Sunscreen Products, they would not have purchased the Sunscreen

Products.

         159.   J&J’s violations present a continuing risk to Plaintiff Melquist and the North

Carolina Class members, as well as to the general public. J&J’s unlawful acts and practices alleged

herein affect the public interest.

         160.   As a result of J&J’s violations of the North Carolina UDTPA, as alleged herein,

Plaintiff Melquist and the North Carolina Class members seek an order enjoining J&J’s unfair or

deceptive acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just

and proper relief available under the North Carolina UDTPA.

         F.     Violation of the Oregon Unlawful Trade Practices Act (Or. Rev. Stat. Ann. §
                646.605, et seq.) (On Behalf of the Oregon Class)

         161.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         162.   Plaintiff Bodine brings this cause of action on behalf of himself and the Oregon

Class.

         163.   J&J, Plaintiff Bodine and members of the Oregon Class are “[p]erson[s]” within

the meaning of Or. Rev. Stat. Ann. § 646.605(4).




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       164.    The Sunscreen Products are “goods” within the meaning of Or. Rev. Stat. Ann. §

646.605(6).

       165.    J&J was and is engaged in “[t]rade” or “commerce” within the meaning of Or. Rev.

Stat. Ann. § 646.605(8).

       166.    The Oregon Unlawful Trade Practices Act (“Oregon UTPA”) prohibits “unlawful

practice . . . in the course of the person’s business.” Or. Rev. Stat. Ann. § 646.608(1).

       167.    The Oregon UTPA makes unlawful specific acts, including:

          “[r]epresent[ing] that . . . goods . . . have . . . characteristics, ingredients, uses,
           benefits, quantities or qualities that the . . . goods . . . do not have” (Or. Rev.
           Stat. Ann. § 646.608(1)(e));

          “[r]epresent[ing] that . . . goods . . . are of a particular standard, quality, or grade,
           or that . . . goods are of a particular style or model, if the . . . goods . . . are of
           another” (Or. Rev. Stat. Ann. § 646.608(1)(g));

          “[a]dvertis[ing] . . . goods . . . with intent not to provide the . . . goods . . . as
           advertised” (Or. Rev. Stat. Ann. § 646.608(1)(i)); and

          “[e]ngag[ing] in any other unfair or deceptive conduct in trade or commerce”
           (Or. Rev. Stat. Ann. § 646.608(1)(u)).

       168.    In the course of its business, J&J, directly or through its agents, employees, and/or

subsidiaries, violated the Oregon UTPA by knowingly and intentionally misrepresenting, omitting,

concealing, and failing to disclose material facts regarding the Sunscreen Products, including that

such products were unreasonably dangerous and not fit to be used for their intended purpose, as

detailed above.

       169.    Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose, as detailed

above, J&J engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of the Oregon UTPA, including:



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          representing that the Sunscreen Products have characteristics, uses, benefits,
           and qualities which they do not have;

          representing that the Sunscreen Products are of a particular standard, quality,
           and grade when they are not;

          advertising the Sunscreen Products with the intent not to sell them as advertised;
           and

          engaging in any other unconscionable, false, misleading, or deceptive act or
           practice in the conduct of trade or commerce.

       170.   J&J’s misrepresentations and omissions regarding the unreasonably dangerous

nature of the Sunscreen Products were disseminated to Plaintiff Bodine and members of the

Oregon Class in a uniform manner.

       171.   J&J’s unfair or deceptive acts or practices, including its misrepresentations,

concealments, omissions, and suppressions of material facts, as alleged herein, had a tendency or

capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

fact, did deceive reasonable consumers, including Plaintiff Bodine and members of the Oregon

Class, about the unreasonably dangerous nature of the Sunscreen Products.

       172.   The facts regarding the Sunscreen Products that J&J knowingly and intentionally

misrepresented, omitted, concealed, and failed to disclose would be considered material by a

reasonable consumer, and they were, in fact, material to Plaintiff Bodine and members of the

Oregon Class, who consider such facts to be important to their purchase decisions with respect to

the Sunscreen Products.

       173.   Plaintiff Bodine and members of the Oregon Class had no way of discerning that

J&J’s representations were false and misleading, or otherwise learning the facts that J&J had

concealed or failed to disclose. Plaintiff Bodine and members of the Oregon Class did not, and

could not, unravel J&J’s deception on their own.




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        174.    J&J had an ongoing duty to Plaintiff Bodine and members of the Oregon Class to

refrain from unfair and deceptive practices under the Oregon UTPA in the course of their business.

Specifically, J&J owed Plaintiff Bodine and members of the Oregon Class a duty to disclose all

material facts regarding the Sunscreen Products, including that such products were unreasonably

dangerous and not fit to be used for their intended purpose. J&J possessed exclusive knowledge

of such facts but intentionally concealed them from Plaintiff Bodine and members of the Oregon

Class, and/or made misrepresentations that were rendered misleading because they were

contradicted by withheld facts.

        175.    Plaintiff Bodine and members of the Oregon Class suffered injury in fact and lost

money as a result of J&J’s conduct. J&J falsely and misleadingly represented that Sunscreen

Products were healthy and safe for consumers, while omitting to disclose that they contained the

carcinogen benzene. The presence of benzene rendered the Sunscreen Products unsafe,

adulterated, and misbranded. Had Plaintiff Bodine and members of the Oregon Class known the

truth about the Sunscreen Products, they would not have purchased the Sunscreen Products.

        176.    J&J’s violations present a continuing risk to Plaintiff Bodine and members of the

Oregon Class, as well as to the general public. J&J’s unlawful acts and practices alleged herein

affect the public interest.

        177.    As a result of J&J’s violations of the Oregon UTPA, as alleged herein, Plaintiff

Bodine and members of the Oregon Class seek an order enjoining J&J’s unfair or deceptive acts

or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the Oregon UTPA.




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         G.     Violation of the South Carolina Unfair Trade Practices Act (S.C. Code Ann.
                § 39-5-10, et seq.) (On Behalf of the South Carolina Class)

         178.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         179.   Plaintiff Hall brings this cause of action on behalf of himself and the South Carolina

Class.

         180.   J&J, Plaintiff Hall and the members of the South Carolina Class are “[p]erson[s]”

within the meaning of S.C. Code Ann. § 39-5-10(a).

         181.   J&J is and was engaged in “[t]rade” or “commerce” within the meaning of S.C.

Code Ann. § 39-5-10(b).

         182.   The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”) prohibits

“unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C. Code Ann. §

39-5-20(a).

         183.   In the course of its business, J&J, directly or through its agents, employees, and/or

subsidiaries, violated the South Carolina UTPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding the Sunscreen Products,

including that such products were unreasonably dangerous and not fit to be used for their intended

purpose, as detailed above.

         184.   Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose, as detailed

above, J&J engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of the South Carolina UTPA.




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       185.    J&J’s misrepresentations and omissions regarding the unreasonably dangerous

nature of the Sunscreen Products were disseminated to Plaintiff Hall and the South Carolina Class

members in a uniform manner.

       186.    J&J’s unfair or deceptive acts or practices, including their misrepresentations,

concealments, omissions, and suppressions of material facts, as alleged herein, had a tendency or

capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

fact, did deceive reasonable consumers, including Plaintiff Hall and the members of the South

Carolina Class, about the unreasonably dangerous nature of the Sunscreen Products.

       187.    The facts regarding the Sunscreen Products that J&J knowingly and intentionally

misrepresented, omitted, concealed, and failed to disclose would be considered material by a

reasonable consumer, and they were, in fact, material to Plaintiff Hall and the members of the

South Carolina Class, who consider such facts to be important to their purchase decisions with

respect to the Sunscreen Products.

       188.    Plaintiff Hall and the members of the South Carolina Class had no way of

discerning that J&J’s representations were false and misleading, or otherwise learning the facts

that J&J had concealed or failed to disclose. Plaintiff Hall and the members of the South Carolina

Class did not, and could not, unravel J&J’s deception on their own.

       189.    J&J had an ongoing duty to Plaintiff Hall and the members of the South Carolina

Class to refrain from unfair and deceptive practices under the South Carolina UTPA in the course

of their business. Specifically, J&J owed Plaintiff Hall and the members of the South Carolina

Class a duty to disclose all material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose. J&J

possessed exclusive knowledge of such facts but intentionally concealed them from Plaintiff Hall




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and the members of the South Carolina Class, and/or made misrepresentations that were rendered

misleading because they were contradicted by withheld facts.

         190.   Plaintiff Hall and the members of the South Carolina Class suffered injury in fact

and lost money as a result of J&J’s conduct. J&J falsely and misleadingly represented that the

Sunscreen Products were healthy and safe for consumers, while omitting to disclose that they

contained the carcinogen benzene. The presence of benzene rendered the Sunscreen Products

unsafe, adulterated, and misbranded. Had Plaintiff Hall and the members of the South Carolina

Class known the truth about the Sunscreen Products, they would not have purchased the Sunscreen

Products.

         191.   J&J’s violations present a continuing risk to Plaintiff Hall and the members of the

South Carolina Class, as well as to the general public. J&J’s unlawful acts and practices

complained of herein affect the public interest.

         192.   As a result of J&J’s violations of the South Carolina UTPA, as alleged herein,

Plaintiff Hall and the members of the South Carolina Class seek an order enjoining J&J’s unfair

or deceptive acts or practices and awarding actual damages, costs, attorneys’ fees, and any other

just and proper relief available under the South Carolina UTPA.

         H.     Violation of the Tennessee Consumer Protection Act of 1977 (Tenn. Code Ann.
                § 47-18-101, et seq.) (On Behalf of the Tennessee Class)

         193.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         194.   Plaintiff Johnson brings this cause of action on behalf of herself and the Tennessee

Class.

         195.   J&J, Plaintiff Johnson and the members of the Tennessee Class are “[p]erson[s]”

within the meaning of Tenn. Code Ann. § 47-18-103(14).




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       196.     Plaintiff Johnson and the members of the Tennessee Class are “[c]onsumer[s]”

within the meaning of Tenn. Code Ann. § 47-18-103(3).

       197.     The Sunscreen Products are “[g]oods” within the meaning of Tenn. Code Ann. §

47-18-103(8).

       198.     J&J was and is engaged in “[t]rade” or “commerce” or “consumer transaction[s]”

within the meaning of Tenn. Code Ann. § 47-18-103(20).

       199.     The Tennessee Consumer Protection Act of 1977 (“Tennessee CPA”) prohibits

“[u]nfair or deceptive acts or practices affecting the conduct of any trade or commerce.” Tenn.

Code Ann. § 47-18-104(a).

       200.     The Tennessee CPA makes unlawful specific acts, including:

          “[r]epresenting that goods . . . have . . . characteristics, ingredients, uses,
           benefits, or quantities that they do not have” (Tenn. Code Ann. § 47-18-
           104(b)(5));

          “[r]epresenting that goods . . . are of a particular standard, quality or grade, or
           that goods are of a particular style or model, if they are of another” (Tenn. Code
           Ann. § 47-18-104(b)(7)); and

          “[a]dvertising goods . . . with intent not to sell them as advertised” (Tenn. Code
           Ann. § 47-18-104(b)(9)).

       201.     In the course of its business, J&J, directly or through its agents, employees, and/or

subsidiaries, violated the Tennessee CPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding Sunscreen Products, including

that such products were unreasonably dangerous and not fit to be used for their intended purpose,

as detailed above.

       202.     Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose, as detailed




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above, J&J engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of the Tennessee CPA, including:

          representing that the Sunscreen Products have characteristics, uses, benefits,
           and qualities which they do not have;

          representing that the Sunscreen Products are of a particular standard, quality,
           and grade when they are not;

          and advertising the Sunscreen Products with the intent not to sell them as
           advertised.

       203.    J&J’s misrepresentations and omissions regarding the unreasonably dangerous

nature of Sunscreen Products were disseminated to Plaintiff Johnson and the members of the

Tennessee Class in a uniform manner.

       204.    J&J’s unfair or deceptive acts or practices, including their misrepresentations,

concealments, omissions, and suppressions of material facts, as alleged herein, had a tendency or

capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

fact, did deceive reasonable consumers, including Plaintiff Johnson and the members of the

Tennessee Class, about the unreasonably dangerous nature of the Sunscreen Products.

       205.    The facts regarding the Sunscreen Products that J&J knowingly and intentionally

misrepresented, omitted, concealed, and failed to disclose would be considered material by a

reasonable consumer, and they were, in fact, material to Plaintiff Johnson and the members of the

Tennessee Class, who consider such facts to be important to their purchase decisions with respect

to the Sunscreen Products.

       206.    Plaintiff Johnson and the members of the Tennessee Class had no way of discerning

that J&J’s representations were false and misleading, or otherwise learning the facts that J&J had

concealed or failed to disclose. Plaintiff Johnson and the members of the Tennessee Class did not,

and could not, unravel J&J’s deception on their own.




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        207.    J&J had an ongoing duty to Plaintiff Johnson and the members of the Tennessee

Class to refrain from unfair and deceptive practices under the Tennessee CPA in the course of their

business. Specifically, J&J owed Plaintiff Johnson and members of the Tennessee Class a duty to

disclose all material facts regarding the Sunscreen Products, including that such products were

unreasonably dangerous and not fit to be used for their intended purpose. J&J possessed exclusive

knowledge of such facts but intentionally concealed them from Plaintiff Johnson and members of

the Tennessee Class, and/or made misrepresentations that were rendered misleading because they

were contradicted by withheld facts.

        208.    Plaintiff Johnson and the members of the Tennessee Class suffered injury in fact

and lost money as a result of J&J’s conduct. J&J falsely and misleadingly represented that

Sunscreen Products were healthy and safe for consumers, while omitting to disclose that they

contained the carcinogen benzene. The presence of benzene rendered the Sunscreen Products

unsafe, adulterated, and misbranded. Had Plaintiff Johnson and members of the Tennessee Class

known the truth about the Sunscreen Products, they would not have purchased the Sunscreen

Products.

        209.    J&J’s violations present a continuing risk to Plaintiff Johnson and the members of

the Tennessee Class, as well as to the general public. J&J’s unlawful acts and practices alleged

herein affect the public interest.

        210.    As a result of J&J’s violations of the Tennessee CPA, as alleged herein, Plaintiff

Johnson and the members of the Tennessee Class seek an order enjoining J&J’s unfair or deceptive

acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the Tennessee CPA.




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        I.      Violation of the Washington Consumer Protection Act (Wash. Rev. Code Ann.
                § 19.86.010, et seq.) (On Behalf of the Washington Class)

        211.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        212.    Plaintiff Ellingson brings this cause of action on behalf of herself and the

Washington Class.

        213.    J&J, Plaintiff Ellingson and the Washington Class are “[p]erson[s]” within the

meaning of Wash. Rev. Code Ann. § 19.86.010(1).

        214.    The Sunscreen Products are “[a]ssets” within the meaning of Wash. Rev. Code

Ann. § 19.86.010(3).

        215.    J&J was and is engaged in “[t]rade” or “commerce” within the meaning of Wash.

Rev. Code Ann. § 19.86.010(2).

        216.    The Washington Consumer Protection Act (“Washington CPA”) prohibits “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Wash. Rev. Code Ann. § 19.86.020.

        217.    In the course of its business, J&J, directly or through its agents, employees, and/or

subsidiaries, violated the Washington CPA by knowingly and intentionally misrepresenting,

omitting, concealing, and failing to disclose material facts regarding the Sunscreen Products,

including that such products were unreasonably dangerous and not fit to be used for their intended

purpose, as detailed above.

        218.    Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,

and failing to disclose material facts regarding the Sunscreen Products, including that such

products were unreasonably dangerous and not fit to be used for their intended purpose, as detailed




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above, J&J engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of the Washington CPA.

       219.    J&J’s misrepresentations and omissions regarding the unreasonably dangerous

nature of the Sunscreen Products were disseminated to Plaintiff Ellingson and members of the

Washington Class in a uniform manner.

       220.    J&J’s unfair or deceptive acts or practices, including its misrepresentations,

concealments, omissions, and suppressions of material facts, as alleged herein, had a tendency or

capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

fact, did deceive reasonable consumers, including Plaintiff Ellingson and members of the

Washington Class, about the unreasonably dangerous nature of the Sunscreen Products.

       221.    The facts regarding the Sunscreen Products that J&J knowingly and intentionally

misrepresented, omitted, concealed, and failed to disclose would be considered material by a

reasonable consumer, and they were, in fact, material to Plaintiff Ellingson and members of the

Washington Class, who consider such facts to be important to their purchase decisions with respect

to the Sunscreen Products.

       222.    Plaintiff Ellingson and members of the Washington Class had no way of discerning

that J&J’s representations were false and misleading, or otherwise learning the facts that J&J had

concealed or failed to disclose. Plaintiff Ellingson and members of the Washington Class did not,

and could not, unravel J&J’s deception on their own.

       223.    J&J had an ongoing duty to Plaintiff Ellingson and members of the Washington

Class to refrain from unfair and deceptive practices under the Washington CPA in the course of

their business. Specifically, J&J owed Plaintiff Ellingson and members of the Washington Class a

duty to disclose all material facts regarding the Sunscreen Products, including that such products




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were unreasonably dangerous and not fit to be used for their intended purpose. J&J possessed

exclusive knowledge of such facts but intentionally concealed them from Plaintiff Ellingson and

members of the Washington Class, and/or made misrepresentations that were rendered misleading

because they were contradicted by withheld facts.

        224.    Plaintiff Ellingson and members of the Washington Class suffered injury in fact

and lost money as a result of J&J’s conduct. J&J falsely and misleadingly represented that

Sunscreen Products were healthy and safe for consumers, while omitting to disclose that they

contained the carcinogen benzene. The presence of benzene rendered the Sunscreen Products

unsafe, adulterated, and misbranded. Had Plaintiff Ellingson and members of the Washington

Class known the truth about the Sunscreen Products, they would not have purchased the Sunscreen

Products.

        225.    J&J’s violations present a continuing risk to Plaintiff Ellingson and members of the

Washington Class, as well as to the general public. J&J’s unlawful acts and practices alleged herein

affect the public interest.

        226.    As a result of J&J’s violations of the Washington CPA, as alleged herein, Plaintiff

Ellingson and members of the Washington Class seek an order enjoining J&J’s unfair or deceptive

acts or practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper

relief available under the Washington CPA.

                                   THIRD CAUSE OF ACTION
                               Breach of Warranty — Express Warranty
                              (On Behalf Of The State-Specific Classes)

        A.      Breach of Express Warranty (Cal. Com. Code § 2313) (On Behalf of the
                California Class)

        227.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.




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       228.    Plaintiff Stolzenbach brings this cause of action on behalf of herself and the

California Class.

       229.    J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of Cal. Com. Code § 2313 and a “seller” of the Sunscreen Products

within the meaning of Cal. Com. Code § 2313.

       230.    Plaintiff Stolzenbach and the members of the California Class are, and at all

relevant times were, “buyers” within the meaning of Cal. Com. Code § 2313.

       231.    In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Stolzenbach and the members of the California Class, as alleged herein, including that

such products were safe for human consumption and fit to be used for their intended purpose.

These express affirmations of fact and/or promises include incomplete warnings and instructions

that purport, but fail, to include the complete array of risks associated with use of and/or exposure

to the Sunscreen Products.

       232.    J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Stolzenbach and the members of the California Class, thereby making an express warranty

that the Sunscreen Products would conform to the representations.

       233.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.




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       234.      The express warranties J&J created with respect to the Sunscreen Products were

material to reasonable consumers, including Plaintiff Stolzenbach and the members of the

California Class, who were intended beneficiaries of J&J’s express warranties and who justifiably

relied on J&J’s express warranties in connection with their decision to purchase the Sunscreen

Products. Specifically, Plaintiff Stolzenbach and the members of the California Class detrimentally

relied on the express warranties and representations of J&J concerning the safety and/or risk profile

of the Sunscreen Products in deciding to purchase the product. Plaintiff Stolzenbach and the

California Class members reasonably relied upon J&J to disclose known defects, risks, dangers,

and side effects of the Sunscreen Products. Plaintiff Stolzenbach and the members of the California

Class would not have purchased or used the Sunscreen Products had J&J properly disclosed the

risks associated with the product, either through advertising, labeling, or any other form of

disclosure.

       235.      Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Stolzenbach and the members of the California Class

that did not conform to J&J’s express warranties in that such products were dangerous and unfit

for use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways:

             J&J represented through their labeling, advertising, and marketing materials
              that the Sunscreen Products were safe, and intentionally withheld and concealed
              information about the risks of serious injury associated with use of the
              Sunscreen Products and by expressly limiting the risks associated with use
              within their warnings and labels; and

             J&J represented that the Sunscreen Products were safe for use and intentionally
              concealed information that demonstrated that they had carcinogenic properties,
              and that the Sunscreen Products, therefore, were not safer than alternatives
              available on the market.




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         236.   J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Stolzenbach and the members of the California Class could

not have reasonably discovered that the risks expressly included in the Sunscreen Products’

warnings and labels were inadequate and inaccurate.

         237.   As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Stolzenbach and the members of the California Class sustained an economic loss

in an amount to be proven at trial.

         238.   As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Stolzenbach and the members of the California Class seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.

         B.     Breach of Express Warranty (Colo. Rev. Stat. Ann. § 4-2-313) (On Behalf of
                the Colorado Class)

         239.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         240.   Plaintiff Vaidis brings this cause of action on behalf of herself and the Oregon

Class.

         241.   J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of Colo. Rev. Stat. Ann. § 4-2-313 and a “seller” of the Sunscreen

Products within the meaning of Colo. Rev. Stat. Ann. § 4-2-313.

         242.   Plaintiff Vaidis and the members of the Colorado Class are, and at all relevant times

were, “buyers” within the meaning of Colo. Rev. Stat. Ann. § 4-2-313.




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       243.    In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Vaidis and the members of the Colorado Class, as alleged herein, including that such

products were safe for human consumption and fit to be used for their intended purpose. These

express affirmations of fact and/or promises include incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

the Sunscreen Products.

       244.    J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Vaidis and the members of the Colorado Class, thereby making an express warranty that

the Sunscreen Products would conform to the representations.

       245.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.

       246.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Vaidis and the members of the Colorado Class that

did not conform to J&J’s express warranties in that such products were dangerous and unfit for

use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways:

          J&J represented through their labeling, advertising, and marketing materials
           that the Sunscreen Products were safe, and intentionally withheld and concealed




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             information about the risks of serious injury associated with use of the
             Sunscreen Products and by expressly limiting the risks associated with use
             within their warnings and labels; and

            J&J represented that the Sunscreen Products were safe for use and intentionally
             concealed information that demonstrated that they had carcinogenic properties,
             and that the Sunscreen Products, therefore, were not safer than alternatives
             available on the market.

        247.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Vaidis and the members of the Colorado Class could not

have reasonably discovered that the risks expressly included in the Sunscreen Products’ warnings

and labels were inadequate and inaccurate.

        248.    As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Vaidis and the members of the Colorado Class sustained an economic loss in an

amount to be proven at trial.

        249.    Plaintiff Vaidis and the members of the Colorado Class gave J&J reasonable notice

of their breaches of express warranty and an opportunity to cure such breaches or, in the alternative,

were not required to do so because such an opportunity would be unnecessary and futile given that

J&J is unable to cure the defect in the Sunscreen Products.

        250.    As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Vaidis and the members of the Colorado Class members seek an order awarding compensatory

and punitive damages, costs, attorneys’ fees, and any other just and proper relief available under

the law.

        C.      Breach of Express Warranty (Fla. Stat. Ann. § 672.313) (On Behalf of the
                Florida Class)

        251.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.



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         252.   Plaintiff Trainor brings this cause of action on behalf of herself and the Florida

Class.

         253.   J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of Fla. Stat. Ann. § 672.313 and a “seller” of the Sunscreen Products

within the meaning of Fla. Stat. Ann. § 672.313.

         254.   Plaintiff Trainor and the members of the Florida Class are, and at all relevant times

were, “buyers” within the meaning of Fla. Stat. Ann. § 672.313.

         255.   In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Trainor and the members of the Florida Class, as alleged herein, including that such

products were safe for human consumption and fit to be used for their intended purpose. These

express affirmations of fact and/or promises include incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

the Sunscreen Products.

         256.   J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Trainor and the members of the Florida Class, thereby making an express warranty that

the Sunscreen Products would conform to the representations.

         257.   J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.




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       258.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Trainor and the members of the Florida Class that

did not conform to J&J’s express warranties in that such products were dangerous and unfit for

use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways:

          J&J represented through their labeling, advertising, and marketing materials
           that the Sunscreen Products were safe, and intentionally withheld and concealed
           information about the risks of serious injury associated with use of the
           Sunscreen Products and by expressly limiting the risks associated with use
           within their warnings and labels; and

          J&J represented that the Sunscreen Products were safe for use and intentionally
           concealed information that demonstrated that they had carcinogenic properties,
           and that the Sunscreen Products, therefore, were not safer than alternatives
           available on the market.

       259.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Trainor and the members of the Florida Class could not have

reasonably discovered that the risks expressly included in the Sunscreen Products’ warnings and

labels were inadequate and inaccurate.

       260.    As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Trainor and the members of the Florida Class sustained an economic loss in an

amount to be proven at trial.

       261.    Plaintiff Trainor and the members of the Florida Class gave J&J reasonable notice

of their breaches of express warranty and an opportunity to cure such breaches or, in the alternative,

were not required to do so because such an opportunity would be unnecessary and futile given that

J&J is unable to cure the defect in the Sunscreen Products.




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        262.    As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Trainor and the members of the Florida Class seek an order awarding compensatory and punitive

damages, costs, attorneys’ fees, and any other just and proper relief available under the law.

        D.      Breach of Express Warranty (N.C. Gen. Stat. Ann. § 25-2-313) (On Behalf of
                the North Carolina Class)

        263.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        264.    Plaintiff Melquist brings this cause of action on behalf of himself and the North

Carolina Class.

        265.    J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of N.C. Gen. Stat. Ann. § 25-2-313 and a “seller” of the Sunscreen

Products within the meaning of N.C. Gen. Stat. Ann. § 25-2-313.

        266.    Plaintiff Melquist and the members of the North Carolina Class are, and at all

relevant times were, “buyers” within the meaning of N.C. Gen. Stat. Ann. § 25-2-313.

        267.    In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Melquist and the members of the North Carolina Class, as alleged herein, including

that such products were safe for human consumption and fit to be used for their intended purpose.

These express affirmations of fact and/or promises include incomplete warnings and instructions

that purport, but fail, to include the complete array of risks associated with use of and/or exposure

to the Sunscreen Products.

        268.    J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by




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Plaintiff Melquist and the members of the North Carolina Class, thereby making an express

warranty that the Sunscreen Products would conform to the representations.

       269.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.

       270.    The express warranties J&J created with respect to the Sunscreen Products were

material to reasonable consumers, including Plaintiff Melquist and the members of the North

Carolina Class, who were intended beneficiaries of J&J’s express warranties and who justifiably

relied on J&J’s express warranties in connection with their decision to purchase the Sunscreen

Products. Specifically, Plaintiff Melquist and the members of the North Carolina Class

detrimentally relied on the express warranties and representations of J&J concerning the safety

and/or risk profile of the Sunscreen Products in deciding to purchase the product. Plaintiff Melquist

and the North Carolina Class members reasonably relied upon J&J to disclose known defects,

risks, dangers, and side effects of the Sunscreen Products. Plaintiff Melquist and the North

Carolina Class members would not have purchased or used the Sunscreen Products had J&J

properly disclosed the risks associated with the product, either through advertising, labeling, or

any other form of disclosure.

       271.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Melquist and the members of the North Carolina

Class that did not conform to J&J’s express warranties in that such products were dangerous and

unfit for use, did not contain labels representing the true and adequate nature of the risks associated




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with their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use

and purpose. Specifically, J&J breached the express warranties in the following ways:

          J&J represented through their labeling, advertising, and marketing materials
           that the Sunscreen Products were safe, and intentionally withheld and concealed
           information about the risks of serious injury associated with use of the
           Sunscreen Products and by expressly limiting the risks associated with use
           within their warnings and labels; and

          J&J represented that the Sunscreen Products were safe for use and intentionally
           concealed information that demonstrated that they had carcinogenic properties,
           and that the Sunscreen Products, therefore, were not safer than alternatives
           available on the market.

       272.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Melquist and the members of the North Carolina Class could

not have reasonably discovered that the risks expressly included in the Sunscreen Products’

warnings and labels were inadequate and inaccurate.

       273.    As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Melquist and the members of the North Carolina Class sustained an economic loss

in an amount to be proven at trial.

       274.    As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Melquist and the members of the North Carolina Class seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.




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         E.     Breach of Express Warranty (Or. Rev. Stat. Ann. § 72.3130) (On Behalf of
                the Oregon Class)

         275.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         276.   Plaintiff Bodine brings this cause of action on behalf of himself and the Oregon

Class.

         277.   J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of Or. Rev. Stat. Ann. § 72.3130 and a “seller” of the Sunscreen

Products within the meaning of Or. Rev. Stat. Ann. § 72.3130.

         278.   Plaintiff Bodine and the members of the Oregon Class are, and at all relevant times

were, “buyers” within the meaning of Or. Rev. Stat. Ann. § 72.3130.

         279.   In connection with its sale of the Sunscreen Products, by and through statements in

labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Bodine and the members of the Oregon Class, as alleged herein, including that such

products were safe for human consumption and fit to be used for their intended purpose. These

express affirmations of fact and/or promises include incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

the Sunscreen Products.

         280.   J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Bodine and the members of the Oregon Class, thereby making an express warranty that

the Sunscreen Products would conform to the representations.




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       281.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.

       282.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Bodine and the members of the Oregon Class that

did not conform to J&J’s express warranties in that such products were dangerous and unfit for

use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways:

          J&J represented through its labeling, advertising, and marketing materials that
           the Sunscreen Products were safe, and intentionally withheld and concealed
           information about the risks of serious injury associated with use of the
           Sunscreen Products and by expressly limiting the risks associated with use
           within their warnings and labels; and

          J&J represented that the Sunscreen Products were safe for use and intentionally
           concealed information that demonstrated that they had carcinogenic properties,
           and that the Sunscreen Products, therefore, were not safer than alternatives
           available on the market.

       283.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Bodine and the members of the Oregon Class could not have

reasonably discovered that the risks expressly included in the Sunscreen Products’ warnings and

labels were inadequate and inaccurate.

       284.    As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Bodine and the members of the Oregon Class sustained an economic loss in an

amount to be proven at trial.




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         285.   Plaintiff Bodine and the members of the Oregon Class gave J&J reasonable notice

of its breaches of express warranty and an opportunity to cure such breaches or, in the alternative,

were not required to do so because such an opportunity would be unnecessary and futile given that

J&J is unable to cure the defect in the Sunscreen Products.

         286.   As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Bodine and the members of the Oregon Class seek an order awarding compensatory and punitive

damages, costs, attorneys’ fees, and any other just and proper relief available under the law.

         F.     Breach of Express Warranty (S.C. Code Ann. § 36-2-313) (On Behalf of the
                South Carolina Class)

         287.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         288.   Plaintiff Hall brings this cause of action on behalf of himself and the South Carolina

Class.

         289.   J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of S.C. Code Ann. § 36-2-313 and a “seller” of the Sunscreen

Products within the meaning of S.C. Code Ann. § 36-2-313.

         290.   Plaintiff Hall and the members of the South Carolina Class are, and at all relevant

times were, “buyers” within the meaning of S.C. Code Ann. § 36-2-313.

         291.   In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Hall and the members of the South Carolina Class, as alleged herein, including that

such products were safe for human consumption and fit to be used for their intended purpose.

These express affirmations of fact and/or promises include incomplete warnings and instructions




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that purport, but fail, to include the complete array of risks associated with use of and/or exposure

to the Sunscreen Products.

       292.    J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Hall and the members of the South Carolina Class, thereby making an express warranty

that the Sunscreen Products would conform to the representations.

       293.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.

       294.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Hall and the members of the South Carolina Class

that did not conform to J&J’s express warranties in that such products were dangerous and unfit

for use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways:

          J&J represented through their labeling, advertising, and marketing materials
           that the Sunscreen Products were safe, and intentionally withheld and concealed
           information about the risks of serious injury associated with use of the
           Sunscreen Products and by expressly limiting the risks associated with use
           within their warnings and labels; and

          J&J represented that the Sunscreen Products were safe for use and intentionally
           concealed information that demonstrated that they had carcinogenic properties,
           and that the Sunscreen Products, therefore, were not safer than alternatives
           available on the market.

       295.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that




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consumers and users such as Plaintiff Hall and the members of the South Carolina Class could

not have reasonably discovered that the risks expressly included in the Sunscreen Products’

warnings and labels were inadequate and inaccurate.

         296.   As a direct and proximate result of J&J’s breaches of express warranties, as

alleged herein, Plaintiff Hall and the members of the South Carolina Class sustained an

economic loss in an amount to be proven at trial.

         297.   As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Hall and the members of the South Carolina Class seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.

         G.     Breach of Express Warranty (Tenn. Code Ann. § 47-2-313) (On Behalf of the
                Tennessee Class)

         298.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         299.   Plaintiff Johnson brings this cause of action on behalf of himself and the Tennessee

Class.

         300.   J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of Tenn. Code Ann. § 47-2-313 and a “seller” of the Sunscreen

Products within the meaning of Tenn. Code Ann. § 47-2-313.

         301.   Plaintiff Johnson and the members of the Tennessee Class are, and at all relevant

times were, “buyers” within the meaning of Tenn. Code Ann. § 47-2-313.

         302.   In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products




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to Plaintiff Johnson and the members of the Tennessee Class, as alleged herein, including that such

products were safe for human consumption and fit to be used for their intended purpose. These

express affirmations of fact and/or promises include incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with use of and/or exposure to

the Sunscreen Products.

       303.    J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Johnson and the members of the Tennessee Class, thereby making an express warranty

that the Sunscreen Products would conform to the representations.

       304.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.

       305.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Johnson and the members of the Tennessee Class

that did not conform to J&J’s express warranties in that such products were dangerous and unfit

for use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways:

          J&J represented through their labeling, advertising, and marketing materials
           that the Sunscreen Products were safe, and intentionally withheld and concealed
           information about the risks of serious injury associated with use of the
           Sunscreen Products and by expressly limiting the risks associated with use
           within their warnings and labels; and

          J&J represented that the Sunscreen Products were safe for use and intentionally
           concealed information that demonstrated that they had carcinogenic properties,




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             and that the Sunscreen Products, therefore, were not safer than alternatives
             available on the market.

        306.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Johnson and the members of the Tennessee Class could not

have reasonably discovered that the risks expressly included in the Sunscreen Products’ warnings

and labels were inadequate and inaccurate.

        307.    As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Johnson and the Tennessee Class members sustained an economic loss in an

amount to be proven at trial.

        308.    As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Johnson and the Tennessee Class members seek an order awarding compensatory and punitive

damages, costs, attorneys’ fees, and any other just and proper relief available under the law.

        H.      Breach of Express Warranty (Wash. Rev. Code Ann. § 62A 2-313) (On Behalf
                of the Washington Class)

        309.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        310.    Plaintiff Ellingson brings this cause of action on behalf of herself and the

Washington Class.

        311.    J&J is, and at all relevant times was, a “merchant” with respect to the Sunscreen

Products within the meaning of Wash. Rev. Code Ann. § 62A.2-313 and a “seller” of the Sunscreen

Products within the meaning of Wash. Rev. Code Ann. § 62A.2-313.

        312.    Plaintiff Ellingson and the members of the Washington Class are, and at all relevant

times were, “buyers” within the meaning of Wash. Rev. Code Ann. § 62A.2-313.




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       313.    In connection with their sale of the Sunscreen Products, by and through statements

in labels, publications, and other written materials intended for consumers and the general public,

J&J made certain express affirmations of fact and/or promises relating to the Sunscreen Products

to Plaintiff Ellingson and the members of the Washington Class, as alleged herein, including that

such products were safe for human consumption and fit to be used for their intended purpose.

These express affirmations of fact and/or promises include incomplete warnings and instructions

that purport, but fail, to include the complete array of risks associated with use of and/or exposure

to the Sunscreen Products.

       314.    J&J advertised, labeled, marketed, and promoted the Sunscreen Products with such

express affirmations of fact and/or promises in such a way as to induce their purchase or use by

Plaintiff Ellingson and the members of the Washington Class, thereby making an express warranty

that the Sunscreen Products would conform to the representations.

       315.    J&J’s affirmations of fact and/or promises about the Sunscreen Products, as set

forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

related to the goods and became part of the basis of the bargain, thus creating an express warranty

that the goods would conform to the representations.

       316.    Despite the express warranties J&J created with respect to the Sunscreen Products,

J&J delivered Sunscreen Products to Plaintiff Ellingson and the members of the Washington Class

that did not conform to J&J’s express warranties in that such products were dangerous and unfit

for use, did not contain labels representing the true and adequate nature of the risks associated with

their use, and were not merchantable or safe for their intended, ordinary, and foreseeable use and

purpose. Specifically, J&J breached the express warranties in the following ways.

          J&J represented through its labeling, advertising, and marketing materials that
           the Sunscreen Products were safe, and intentionally withheld and concealed




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             information about the risks of serious injury associated with use of the
             Sunscreen Products and by expressly limiting the risks associated with use
             within their warnings and labels; and

            J&J represented that the Sunscreen Products were safe for use and intentionally
             concealed information that demonstrated that they had carcinogenic properties,
             and that the Sunscreen Products, therefore, were not safer than alternatives
             available on the market.

        317.    J&J had sole access to material facts concerning the nature of the risks associated

with the Sunscreen Products, as expressly stated within their warnings and labels, and knew that

consumers and users such as Plaintiff Ellingson and the members of the Washington Class could

not have reasonably discovered that the risks expressly included in the Sunscreen Products’

warnings and labels were inadequate and inaccurate.

        318.    As a direct and proximate result of J&J’s breaches of express warranties, as alleged

herein, Plaintiff Ellingson and the members of the Washington Class sustained an economic loss

in an amount to be proven at trial.

        319.    As a result of J&J’s breaches of express warranties, as alleged herein, Plaintiff

Ellingson and the members of the Washington Class seek an order awarding compensatory and

punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

law.

                                FOURTH CAUSE OF ACTION
                              Breach of Warranty—Implied Warranty
                             (On Behalf of the State-Specific Classes)

        A.      Breach of Implied Warranty (Cal. Com. Code § 2314) (On Behalf of the
                California Class)

        320.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        321.    Plaintiff Stolzenbach brings this cause of action on behalf of herself and the

California Class.



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       322.    At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Stolzenbach and the members of the California Class and was in the

business of selling such products.

       323.    Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. Cal. Com. Code § 2314.

       324.    J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

       325.    J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

       326.    Plaintiff Stolzenbach and the members of the California Class have had sufficient

direct dealings with either J&J or its agents (including distributors, dealers, and authorized sellers)

to establish privity of contract between J&J and Plaintiff Stolzenbach and the members of the

California Class.

       327.    Further, Plaintiff Stolzenbach and the members of the California Class were the

intended third-party beneficiaries of the implied warranties made by J&J to purchasers of their

Sunscreen Products.

       328.    Plaintiff Stolzenbach and the members of the California Class were injured as a

direct and proximate result of J&J’s breaches of implied warranties of merchantability because,

had they been aware of the unmerchantable condition of the Sunscreen Products, they would not

have purchased such products.




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         329.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Stolzenbach and the members of the California Class seek an order awarding

compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

         B.     Breach of Implied Warranty (Colo. Rev. Stat. Ann. § 4-2-314) (On Behalf of
                the Colorado Class)

         330.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         331.   Plaintiff Vaidis brings this cause of action on behalf of herself and the Colorado

Class.

         332.   At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Vaidis and the members of the Colorado Class and was in the business

of selling such products.

         333.   Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. Colo. Rev. Stat. Ann. §

4-2-314.

         334.   J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

         335.   J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.




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         336.   Plaintiff Vaidis and the members of the Colorado Class have had sufficient direct

dealings with either J&J or its agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between J&J and Plaintiff Vaidis and the members of the Colorado

Class.

         337.   Further, Plaintiff Vaidis and the members of the Colorado Class were the intended

third-party beneficiaries of the implied warranties made by J&J to purchasers of their Sunscreen

Products.

         338.   Plaintiff Vaidis and the members of the Colorado Class were injured as a direct and

proximate result of J&J’s breaches of implied warranties of merchantability because, had they

been aware of the unmerchantable condition of the Sunscreen Products, they would not have

purchased such products.

         339.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Vaidis and the members of the Colorado Class seek an order awarding

compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

         C.     Breach of Implied Warranty (Fla. Stat. Ann. § 672.314) (On Behalf of the
                Florida Class)

         340.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         341.   Plaintiff Trainor brings this cause of action on behalf of herself and the Florida

Class.

         342.   At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Trainor and the members of the Florida Class and was in the business

of selling such products.




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         343.   Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. Fla. Stat. Ann. § 672.314.

         344.   J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

         345.   J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

         346.   Plaintiff Trainor and the members of the Florida Class have had sufficient direct

dealings with either J&J or its agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between J&J and Plaintiff Trainor and the members of the Florida

Class.

         347.   Further, Plaintiff Trainor and the members of the Florida Class were the intended

third-party beneficiaries of the implied warranties made by J&J to purchasers of their Sunscreen

Products.

         348.   Plaintiff Trainor and the members of the Florida Class were injured as a direct and

proximate result of J&J’s breaches of implied warranties of merchantability because, had they

been aware of the unmerchantable condition of the Sunscreen Products, they would not have

purchased such products.

         349.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Trainor and the members of the Florida Class seek an order awarding




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compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

        D.      Breach of Implied Warranty (N.C. Gen. Stat. Ann. § 25-2-314) (On Behalf of
                the North Carolina Class)

        350.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        351.    Plaintiff Melquist brings this cause of action on behalf of himself and the North

Carolina Class.

        352.    At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Melquist and the members of the North Carolina Class and was in the

business of selling such products.

        353.    Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. N.C. Gen. Stat. Ann. §

25-2-314.

        354.    J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

        355.    J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

        356.    Plaintiff Melquist and the members of the North Carolina Class have had sufficient

direct dealings with either J&J or its agents (including distributors, dealers, and authorized sellers)




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to establish privity of contract between J&J and Plaintiff Melquist and the members of the North

Carolina Class.

         357.   Further, Plaintiff Melquist and the members of the North Carolina Class were the

intended third-party beneficiaries of the implied warranties made by J&J to purchasers of their

Sunscreen Products.

         358.   Plaintiff Melquist and the members of the North Carolina Class were injured as a

direct and proximate result of J&J’s breaches of implied warranties of merchantability because,

had they been aware of the unmerchantable condition of the Sunscreen Products, they would not

have purchased such products.

         359.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Melquist and the members of the North Carolina Class seek an order awarding

compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

         E.     Breach of Implied Warranty (Or. Rev. Stat. Ann. § 72.3140) (On Behalf of the
                Oregon Class)

         360.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         361.   Plaintiff Bodine brings this cause of action on behalf of himself and the Oregon

Class.

         362.   At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Bodine and the members of the Oregon Class and was in the business

of selling such products.




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         363.   Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. Or. Rev. Stat. Ann. §

72.3140.

         364.   J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

         365.   J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

         366.   Plaintiff Bodine and each member of the Oregon Class have had sufficient direct

dealings with either J&J or its agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between J&J and Plaintiff Bodine and the members of the Oregon

Class.

         367.   Further, Plaintiff Bodine and the members of the Oregon Class were the intended

third-party beneficiaries of the implied warranties made by J&J to purchasers of the Sunscreen

Products.

         368.   Plaintiff Bodine and the members of the Oregon Class were injured as a direct and

proximate result of J&J’s breaches of implied warranties of merchantability because, had they

been aware of the unmerchantable condition of the Sunscreen Products, they would not have

purchased such products.

         369.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Bodine and the members of the Oregon Class seek an order awarding




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compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

         F.     Breach of Implied Warranty (S.C. Code Ann. § 36-2-314) (On Behalf of the
                South Carolina Class)

         370.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         371.   Plaintiff Hall brings this cause of action on behalf of himself and the South Carolina

Class.

         372.   At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Hall and the members of the South Carolina Class and were in the

business of selling such products.

         373.   Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. S.C. Code Ann. § 36-2-

314.

         374.   J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

         375.   J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

         376.   Plaintiff Hall and the members of the South Carolina Class have had sufficient

direct dealings with either J&J or its agents (including distributors, dealers, and authorized sellers)




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to establish privity of contract between J&J and Plaintiff Hall and the members of the South

Carolina Class.

         377.   Further, Plaintiff Hall and the members of the South Carolina Class were the

intended third-party beneficiaries of the implied warranties made by J&J to purchasers of the

Sunscreen Products.

         378.   Plaintiff Hall and the members of the South Carolina Class were injured as a direct

and proximate result of J&J’s breaches of implied warranties of merchantability. Plaintiff Hall and

the members of the South Carolina Class were damaged as a result of J&J’s breaches of implied

warranties of merchantability because, had they been aware of the unmerchantable condition of

the Sunscreen Products, they would not have purchased such products.

         379.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Hall and the members of the South Carolina Class seek an order awarding

compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

         G.     Breach of Implied Warranty (Tenn. Code Ann. § 47-2-314) (On Behalf of the
                Tennessee Class)

         380.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

         381.   Plaintiff Johnson brings this cause of action on behalf of himself and the Tennessee

Class.

         382.   At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Johnson and the members of the Tennessee Class and was in the

business of selling such products.




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         383.   Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. Tenn. Code Ann. § 47-

2-314.

         384.   J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

         385.   J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

         386.   Plaintiff Johnson and the members of the Tennessee Class have had sufficient direct

dealings with either J&J or its agents (including distributors, dealers, and authorized sellers) to

establish privity of contract between J&J and Plaintiff Johnson and the members of the Tennessee

Class.

         387.   Further, Plaintiff Johnson and the members of the Tennessee Class were the

intended third-party beneficiaries of the implied warranties made by J&J to purchasers of their

Sunscreen Products.

         388.   Plaintiff Johnson and the members of the Tennessee Class were injured as a direct

and proximate result of J&J’s breaches of implied warranties of merchantability because, had they

been aware of the unmerchantable condition of the Sunscreen Products, they would not have

purchased such products.

         389.   As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Johnson and the members of the Tennessee Class seek an order awarding




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compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

        H.      Breach of Implied Warranty (Wash. Rev. Code Ann. § 62A.2-314) (On Behalf
                of the Washington Class)

        390.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs as if

fully set forth herein.

        391.    Plaintiff Ellingson brings this cause of action on behalf of herself and the

Washington Class.

        392.    At all relevant times, J&J was a merchant with respect to the Sunscreen Products

which were sold to Plaintiff Ellingson and the members of the Washington Class and was in the

business of selling such products.

        393.    Each Sunscreen Product sold by J&J comes with an implied warranty that it will be

merchantable and fit for the ordinary purpose for which it would be used. Wash. Rev. Code Ann.

§ 62A 2-314.

        394.    J&J breached its implied warranty of merchantability because its products were not

in merchantable condition when sold, did not conform to the promises and affirmations of fact

made on the products’ containers or labels, and/or do not possess even the most basic degree of

fitness for ordinary use.

        395.    J&J’s Sunscreen Products are not fit for their intended use – or any use – because

they have dangerous propensities when used as intended, and their use carries an increased risk of

developing severe injuries.

        396.    Plaintiff Ellingson and the members of the Washington Class have had sufficient

direct dealings with either J&J or its agents (including distributors, dealers, and authorized sellers)




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to establish privity of contract between J&J and Plaintiff Ellingson and the members of the

Washington Class.

       397.    Further, Plaintiff Ellingson and the members of the Washington Class were the

intended third-party beneficiaries of the implied warranties made by J&J to purchasers of their

Sunscreen Products.

       398.    Plaintiff Ellingson and the members of the Washington Class were injured as a

direct and proximate result of J&J’s breaches of implied warranties of merchantability because,

had they been aware of the unmerchantable condition of the Sunscreen Products, they would not

have purchased such products.

       399.    As a result of J&J’s breaches of implied warranties of merchantability, as alleged

herein, Plaintiff Ellingson and the members of the Washington Class seek an order awarding

compensatory and punitive damages, costs, attorneys’ fees, and any other just and proper relief

available under the law.

                                  FIFTH CAUSE OF ACTION
                                       Unjust Enrichment
                                (On Behalf of the Nationwide Class)

       400.    Plaintiffs assert this claim on behalf of the Nationwide Class.

       401.    Plaintiffs hereby incorporate by reference the allegations contained in all preceding

paragraphs of this complaint.

       402.    As a result of the unlawful conduct described herein, J&J has and will continue to

be unjustly enriched. J&J has been unjustly enriched by the receipt of revenues received for the

Sunscreen Products, revenues they would not have received had the presence of benzene in the

Sunscreen Products been known to consumers.

       403.    J&J has benefited from its unlawful conduct and it would be inequitable for J&J to

be permitted to retain any of the ill-gotten gains received for its Sunscreen Products.



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         404.   Plaintiffs and members of the Nationwide Class are entitled to the amount of J&J’s

ill-gotten gains resulting from their unlawful, unjust, and inequitable conduct. Plaintiffs and

members of the Nationwide Class are entitled to a constructive trust consisting of all ill-gotten

gains from which Plaintiffs and members of the Nationwide Class may make claims on a pro rata

basis.

                                     PRAYER FOR RELIEF

         Accordingly, Plaintiffs respectfully request:

            a. The Court determine that this action may be maintained as a class action under

                Rules 23(a), (b)(2) and (b)(3) and direct that reasonable notice of this action be

                given to each and every member of the Classes as provided by Rule 23(c)(2);

            b. That J&J’s unlawful conduct be adjudged and decreed violations of the laws set

                forth above;

            c. An injunction requiring J&J to refrain from engaging in the unlawful conduct

                alleged in this complaint, to recall all other sunscreen products containing

                benzene, to implement procedures to identify other products that may contain

                benzene, to require J&J to disclose the amount of benzene present in any product

                it sells, and to preclude J&J from selling any products without disclosing that they

                contain benzene and to what extent;

            d. Plaintiffs and members of the Classes recover damages, including treble damages,

                to the maximum extent allowed under the law, and that a joint and several

                judgment in favor of Plaintiff and members of the Classes be entered against J&J;

            e. Plaintiffs and members of the Classes be awarded restitution for J&J’s ill-gotten

                gains resulting from their unlawful and inequitable unjust enrichment;




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          f. Plaintiffs and members of the Classes recover their costs of suit, including

              reasonable attorneys’ fees as provided by law; and

          g. Plaintiffs and members of the class be granted such other and further relief as the

              case may require and the Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a jury trial on all claims so triable.


 Dated: July 29, 2021                               Respectfully submitted,


                                                    /s/James E. Cecchi
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                                       Classes




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